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EXHIBIT C

Sale Agreement

 

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ASSET PURCHASE AGREEMENT
by and among
NEW ALLIED ACQUISITION CO. LLC
as Purchaser,
and
ALLIED SYSTEMS HOLDINGS, INC.
and

THE SUBSIDIARIES OF ALLIED SYSTEMS HOLDINGS, INC.
SET FORTH ON THE SIGNATURE PAGES HERETO,

as Sellers

DATED AS OF May 17, 2013

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EXHIBITS

Form of Bill of Sale

Form of Assignment and Assumption Agreement

Form of Sale Motion

Form of U.S. Bidding Procedures Order

Form of U.S. Sale Order

Form of Canadian Recognition Order Regarding Bidding Procedures
Order

Form of Canadian Sale Order

SCHEDULES

Allied Seller Subsidiaries
Other Purchased Assets
Excluded Properties and Assets
Other Assumed Liabilities
Other Excluded Liabilities

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ASSET PURCHASE AGREEMENT

ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of May 17, 2013
(the ”Execution Date”), by and among Allied Systems Holdings, Inc., a Delaware corporation
(“Allied”), the subsidiaries of Allied set forth on the signature pages hereto and also on Schedule
1 (collectively with Allied, “Sellers” and each, a “Seller’’) and New Allied Acquisition Co. LLC,
a Delaware limited liability company (the “Purchaser”). Certain capitalized terms used herein
are defined in Article X.

RECITALS

WHEREAS, Sellers currently conduct the Business and the Purchaser desires to purchase
the Business;

WHEREAS, each Seller is (a) a debtor and debtor in possession in those certain
bankruptcy cases under chapter 11 of title 11 of the Umted States Code, 11 U.S.C. § 101 e¢ seq.
(the *Bankruptcy Code”) filed on May 17, 2012 in the United States Bankruptcy Court for the
District of Delaware (the “U.S. Bankruptcy Court”), as jointly administered under Case No. 12-
11564 (CSS) (collectively, the “Chapter 11 Case”), and (b) a debtor in those certain cases under
Part IV of the Companies’ Creditors Arrangement Act (the “CCAA”) filed on June 12, 2012 in
the Ontario Superior Court of Justice (the “Canadian Court”, and together with the U.S.
Bankruptcy Court, the “Bankruptcy Courts”), as administered under Court File No. 12-CV-9757-
OOCL (the “CCAA Case”, and together with the Chapter 11 Case, the “Bankruptcy Cases’’);

WHEREAS, Sellers acknowledge that it is integral to the process of arranging an orderly
sale of the Purchased Assets (as defined herein) to proceed by selecting the Purchaser as the
“stalking horse” bidder, subject to (i) the Bankruptcy Courts’ approval and/or recogmition and (ii)
any higher or better offers that may be obtained by Sellers for all of the Purchased Assets owned
by Sellers. Sellers acknowledge that the contributions of the Purchaser to the process have
provided substantial benefit to the estate of Sellers and that the Purchaser would not have
invested the effort in negotiating and documenting the transaction provided for herein and
incurring obligations to pay its outside advisers if the Purchaser were not entitled, subject to the
terms of this Agreement, to Purchaser’s Expense Reimbursement (as defined herein). Sellers
acknowledge that Purchaser’s agreement to act as the “stalking horse” bidder has conferred a
direct and substantial benefit on Sellers’ estates and Sellers’ submit that it is therefore warranted
that the Purchaser’s Expense Reimbursement, if required to be paid pursuant to this Agreement,
constitute super-priority administrative expenses of Sellers under Sections 503(b) and 507 of the
Bankruptcy Code, and that the foregoing be approved by the Bidding Procedures Order (as
defined herein); and

WHEREAS, in connection with the Bankruptcy Cases and subject to the terms and
conditions contained herein and following the entry of the Sale Orders confirming the Purchaser
as the winning bidder and subject to the terms and conditions thereof, Sellers shall sell, transfer
and assign to the Purchaser, and the Purchaser shall purchase and acquire from Sellers, the
Purchased Assets, and assume from Sellers the Assumed Liabilities all as more specifically
provided herein and in the Sale Orders.

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NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
warranties, covenants and agreements set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
legally bound hereby, the Purchaser and Sellers hereby agree as follows:

ARTICLE I.

PURCHASE AND SALE OF ASSETS; ASSUMPTION OF LIABILITIES

1.1 Purchase and Sale of Assets. Pursuant to Sections 105, 363 and 365 of the
Bankruptcy Code and on the terms and subject to the conditions set forth in this Agreement and
the Sale Orders, the Purchaser shall purchase, acquire and accept from each Seller, and each
Seller shall sell, transfer, assign, convey and deliver to the Purchaser, on the Closing Date all of
such Seller’s right, title and interest in, to and under, free and clear of all Encumbrances (other
than Permitted Encumbrances) and Liabilities (other than Assumed Liabilities), all of the assets,
properties and rights of any nature, tangible and intangible, real or personal, wherever located, of
such Seller related to or used, or held for use, in connection with the operation of the Business,
now existing or hereafter acquired prior to the Closing Date, whether or not reflected on the
books or financial statements of such Seller as the same shall exist on the Closing Date
including, without limitation, the following such assets, properties and rights (but in all cases
excluding the Excluded Assets) (collectively, the “Purchased Assets”):

 

(a) (i) all Contracts with customers of Sellers, and all rights pursuant thereto,
entered into on or prior to the Execution Date by any Seller including, without limitation, the
Material Contracts set forth on part (1) to Section 4.8(a) of the Seller Disclosure Schedule, (ii)
any other Contract with a customer of any Seller entered into in the Ordinary Course of Business
between the Execution Date and the Closing Date that, if entered into by Sellers on or prior to
the Execution Date, would not be a Material Contract, (iii) any other Contract with customers of
Sellers entered into between the Execution Date and the Closing Date that, if entered into by
Sellers on or prior to the Execution Date, would be a Material Contract provided that the
execution thereof has been approved by the Purchaser in writing, and (iv) any other Contract
with a customer of any Seller added to the list of Assumed Customer Contracts in accordance
with Section 1.5 (collectively, the “Assumed Customer Contracts”);

 

(b) all Accounts Receivable;

(c) all Cash and Cash Equivalents, whether on hand, in transit or in banks or
other financial institutions, security entitlements, securities accounts, commodity contracts and
commodity accounts and including all of Sellers’ rights to the return of any cash collateral that is
collateralizing any letters of credit or other obligation assumed by the Purchaser, but excluding
any cash tendered as part of the Purchase Price and any cash funded into the Wind Down Budget
by the Purchaser; provided, however, that all unused portions of the Wind Down Budget shall be
returned to the Purchaser and considered part of the Purchased Assets;

(d) all Documents used in or relating to the Business or in respect of the
Purchased Assets or Assumed Liabilities, including but not limited to, the Acquired Customers,

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products, services, marketing, advertising and promotional activities, trade shows and all files,
supplier lists, vendor lists, records, literature and correspondence as reasonably available;

(e) (i) all Contracts with suppliers and vendors, and all rights pursuant thereto,
entered into on or prior to the Execution Date by any Sellers including, without limitation, the
Material Contracts set forth on parts (ii) through (iv) to Section 4.8(a) of the Seller Disclosure
Schedule, (11) any other Contract with a supplier or vendor of any Seller entered into in the
Ordinary Course of Business between the Execution Date and the Closing Date that, if entered
into by Sellers on or prior to the Execution Date, would not be a Material Contract, (iii) any other
contract with suppliers or vendors of Sellers entered into between the Execution Date and the
Closing Date that, if entered into by Sellers on or prior to the Execution Date, would be a
‘Material Contract provided that the execution thereof has been approved by the Purchaser in
writing, and (iv) any other Contract with a supplier or vendor of any Seller added to the list of
Assumed Vendor Contracts in accordance with Section 1.5, in each case to the extent such
Contracts may be assumed and assigned under Section 365 of the Bankruptcy Code (collectively,
the “Assumed Vendor Contracts”);

(f) all deposits and prepaid expenses of Sellers related to the Purchased
Assets or Assumed Liabilities, including but not limited to (i) security deposits with third party
suppliers, vendors or service providers, ad valorem taxes and lease and rental payments, (ii)
rebates, (111) tenant retmbursements, (iv) pre-payments, and (v) unearned insurance premiums, in
each case other than in connection with any Excluded Assets or Excluded Liabilities;

(g) all Equipment owned by Sellers;

(h) all leases and subleases for personal property to which any Seller is a party
and used or held for use in the operation of the Business (the “Personal Property Leases”) and all
of the rights of any and all Sellers to such personal property, including without limitation, those
items (including Equipment, if any) leased pursuant to the Personal Property Leases set forth on
Section 4.8(a)(xi) of the Seller Disclosure Schedule, and any other leases and subleases added to
the list of Assumed Personal Property Leases in accordance with Section 1.5 (collectively, the
“Assumed Personal Property Leases”);

 

(i) the names “Allied” and “Allied Systems”, the names of all of the other
Sellers and, in all cases, any derivations thereof (the “Purchased Names”);

(j) all Owned Real Property set forth on Section 4.12(a} of the Seller
Disclosure Schedule (other than the Excluded Owned Real Property) and all leases and subleases
for the Leased Real Property set forth on Section ].1(G) of the Seller Disclosure Schedule and all
of Sellers’ right, title and interest in and thereto, and any other leases and subleases added to the
list of Assumed Real Property Leases in accordance with Section 1.5 (such leases and subleases,
collectively, the “Assumed Real Property Leases” and the underlying Leased Real Property, the
“Assumed Leased Real Property”);

(k) all Contracts between Sellers and any independent contractors who are not
employees of Sellers but who have been retained to and who render services (i) on behalf of
Sellers or (ii) on behalf of third parties where Sellers act as intermediaries or brokers, including,

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in each case, Contracts with (x) owner-operators, (y) independent sales agents and (z) qualified
third-party carriers, and any other Contract added to the list of Assumed Independent Contractor
Contracts in accordance with Section 1.5 (collectively, the “Assumed Independent Contractor
Contracts”);

(1) to the extent transferable under applicable Laws, all Permits and all
pending applications therefor, including, without limitation, the Material Permits;

(m) all rights under non-disclosure or confidentiality, non-compete, or non-
solicitation agreements with Employees and agents or with third parties, including without
limitation, the Acquired Customers;

(n) to the extent the assignment or transfer thereof is not prohibited by
applicable Law, all rights, claims, credits, causes of action or rights of set off with respect to
third parties relating to the Purchased Assets (including, for the avoidance of doubt, those arising
under, or otherwise relating, to the Assigned Contracts) or Assumed Liabilities, including rights
under vendors’ and manufacturers’ warranties, indemnities, guaranties and, solely to the extent
against vendors, suppliers, customers or other contract counterparties of Sellers that are
counterparties to the Assigned Contracts or otherwise set forth on Section 1.1(n) of the Seller
Disclosure Schedule, avoidance claims and causes of action under the Bankruptcy Code or
applicable state Law, including, without limitation, all rights and avoidance claims of Sellers
arising under Chapter 5 of the Bankruptcy Code;

(o) any counterclaims, setoffs or defenses that any Seller may have with
respect to any Assumed Liabilities;

(p) to the extent assignable or transferable in accordance with the terms and
conditions of the applicable insurance policies, applicable Law or the Sale Orders, (i) all of
Sellers’ insurance policies related to the Business, the Purchased Assets or the Assumed
Liabilities and rights and benefits thereunder (including, without limitation, (A) all rights
pursuant to and proceeds from such insurance policies and (B) all claims, demands, proceedings
and causes of action asserted by any Seller under such insurance policies relating directly to any
Purchased Asset or Assumed Liability) and (ii) any letters of credit related thereto;

(q) copies of all Tax Returns or Tax Records of Sellers related to any
Purchased Assets;

(r) to the extent the assignment or transfer thereof is not prohibited by
applicable Law, any claim, right or interest of any Seller in or to any refund, rebate, abatement or
other recovery for Taxes, together with any interest due thereon or penalty rebate arising
therefrom, for any Tax Period (or portion thereof) ending on or before the Closing Date;

(s) (i) all of Sellers’ right, title and interest in and to the Seller Intellectual
Property (collectively, the “Assumed Intellectual Property”) and (ii) all Contracts pursuant to
which any Seller is granted a license to, or any rights under, any Intellectual Property of any
third Person and all Contracts pursuant to which any Seller grants to a third Person a license to,
or any rights under, any Seller Intellectual Property, and any other Contract added to the list of

 

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Assumed Intellectual Property Licenses in accordance with Section 1.5 (the “Assumed
Intellectual Property Licenses”);

 

(t) all goodwill and other intangible assets associated with the Business or the
Purchased Assets;

(u) all of the shares of capital stock or other equity interests of the Foreign
Subsidiaries (other than any Seller) owned by any Seller set forth on Section 1.1(u) of the Seller
Disclosure Schedule (the “Foreign Subsidiary Stock”);

(v) all personnel files for Transferred Employees, except to the extent that any
transfer or assignment is prohibited by applicable Law;

(w) all Documents (whether copies or originals) relating to formation,
qualifications to conduct business as a foreign corporation or other legal entity, arrangements
with registered agents relating to foreign qualifications, Taxpayer and other identification
numbers, seals, minute books, stock transfer books, stock ledgers, stock certificates, by-laws and
other documents relating to the organization and existence of any Foreign Subsidiary as a
corporation or other legal entity, as applicable (together with analogous documentation);

(x) all Inventory used or held for use in the operation of the Business;

(y) that certain Retention Plan set forth as Exhibit A to the U.S. Bankruptcy
Court’s Order Granting Motion Pursuant to 11 U.S.C. §§ 363(b)(1) and 503(c)(3) Seeking an
Order Authorizing the Debtors to Implement Key Employee Retention Plan, entered on
September 28, 2012 [Docket No. 482], the Notices of Participation described therein, and any
agreements and rights related thereto (collectively, the “Assumed Retention Incentive
Agreements”) and the Seller Plans listed on Section 1.1(y) of the Seller Disclosure Schedule and
any associated funding media, assets, reserves, credits and service agreements, and all
Documents created, filed or maintained in connection with such Seller Plans (to the extent
transferable in accordance with the existing terms and conditions of the applicable Seller Plan)
and any applicable annuity contracts, insurance policies or other funding instruments related
thereto (collectively with the Assumed Retention Incentive Agreements, the “Assumed Plans”
and, together with the Assumed Customer Contracts, the Assumed Vendor Contracts, the
Assumed Personal Property Leases, the Assumed Real Property Leases, the Assumed
Independent Contractor Contracts, and the Assumed Intellectual Property Licenses, the
“Assigned Contracts”);

(z) all loans and other indebtedness payable to any Seller; and
(aa) any Contract, asset, property or right set forth on Schedule 1.1(aa).

1.2 Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
no event shall any Seller be deemed to sell, transfer, assign or convey, and the Purchased Assets
shall not include, and each Seller shall retain all right, tithe and interest to, in and under, the
following assets, properties, interests and rights of each Seller (collectively, the “Excluded
Assets”):

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(a) all Non-Assumed Contracts;

(b) all Documents (whether copies or originals) (i) to the extent they relate
primarily to any of the Excluded Assets or Excluded Liabilities, (11) that a Seller is required by
Law to retain and is prohibited by Law from providing a copy of to the Purchaser or (iii)
prepared primarily in connection with the transactions contemplated by this Agreement,
including bids received from other parties;

(c) all shares of capital stock or other equity interests of any Seller or
securities convertible into, exchangeable or exercisable for any such shares of capital stock or
other equity interests;

(d) all shares of capital stock or other equity interests of Haul Insurance and
all assets of Haul Insurance, including any cash or cash equivalents;

(e) any avoidance claims or causes of action under the Bankruptcy Code or
applicable state Law with respect to the Excluded Assets, including, without limitation, all rights
and avoidance claims of Sellers arising under Chapter 5 of the Bankruptcy Code with respect to
the Excluded Assets;

(f) all credits, prepaid expenses, advance payments, security deposits, or
claims that Sellers may have relating to any Excluded Assets;

(g) each Seller’s rights under this Agreement;

(h) any cash tendered as part of the Purchase Price and any cash funded into
the Wind Down Budget by the Purchaser; provided, however, that all unused portions of the
Wind Down Budget shall be returned to the Purchaser and considered part of the Purchased
Assets;

(i) other than the Assumed Plans, all of the Seller Plans, including the
Management Incentive Retention Agreements and any ERISA Affiliate Plan, and any agreement
relating to any of the foregoing, and any associated funding media, assets, reserves, credits and
service agreements, and all Documents created, filed or maintained in connection with the Seller
Plans (other than the Assumed Plans), any ERISA Affiliate Plan and any agreement relating to
the foregoing, and any applicable annuity contracts, insurance policies or other funding
instruments (collectively, the "Excluded Plans”);

(i) all collective bargaining agreements, employment or similar agreements
applicable to any Employee of Sellers, other than those specifically included as Purchased Assets
or Assumed Liabilities;

(k) except to the extent that any Tax Return or Tax Record of Sellers is
acquired pursuant to Section 1.1(q), all Tax Returns or Tax Records of Sellers;

a) all Documents relating to formation, qualifications to conduct business as
a foreign corporation or other legal entity, arrangements with registered agents relating to foreign

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qualifications, Taxpayer and other identification numbers, seals, minute books, stock transfer
books, stock ledgers, stock certificates, by-laws and other documents relating to the organization
and existence of any Seller as a corporation or other legal entity, as applicable (together with
analogous documentation), provided that Sellers shall promptly provide to the Purchaser copies
of the foregoing Documents if reasonably requested by the Purchaser and to the extent that such
Documents are available in the Sellers’ books and records;

(m) the Owned Real Property set forth on Section 1.2(m) of the Seller
Disclosure Schedule and all of Sellers’ right, title and interest in and thereto (the “Excluded

Owned Real Property”);

(n) all shares of capital stock or other equity interests of AX International
Limited, a company organized under the Laws of Bermuda, and all assets of AX International
Limited (other than its equity interest in Arrendadora de Equipo para el Transporte de
Automoviles, S.de R.L. de C.V.), including any Cash or Cash Equivalents; and

(0) any Contract, asset, property or right set forth on Schedule 1.2(0).

1.3 Assumption of Liabilities. On the terms and subject to the conditions set forth in
this Agreement and the Sale Orders, the Purchaser shall assume only the following Liabilities of
Sellers (collectively, the “Assumed Liabilities”):

(a) (i) all Cure Costs and (ii) any and all Liabilities of Sellers under each
Assigned Contract arising on or after the Closing Date and related to such Assigned Contract;

(b) as set forth on Schedule 1.3(b) (which for the avoidance of doubt shall be
listed as line items and/or categories and not dollar amounts), the obligation to pay any amounts
owed to third parties arising in the Ordinary Course of Business after the Petition Date (whether
arising prior to, on or after, the Closing Date), which are not past due more than thirty (30) days,
and which are entitled to priority status under Section 503(b) of the Bankruptcy Code or under
the CCAA;

(c) any and all Liabilities with respect to the Assumed Plans, including, for
the avoidance of doubt, the Assumed Retention Incentive Agreements, whether arising prior to,
on or after the Closing Date;

(d) any and all Liabilities for Transfer Taxes as provided in Section 11.1(a);

(e) any and all Liabilities for which the Purchaser is expressly responsible
pursuant to Article VI; and

(f) any Liabilities set forth on Schedule 1.3(f).

1.4 Excluded Liabilities. Except for the Assumed Liabilities, neither the Purchaser
nor any Designated Purchaser shall assume, or become liable for the payment or performance of,
any Liabilities of Sellers of any nature whatsoever, whether accrued or unaccrued, including,

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without limitation, the following Liabilities (collectively, the “Excluded Liabilities”) which shall
remain Liabilities of Sellers and shall not be included in the Assumed Liabilities:

(a) all Liabilities of Sellers relating to or otherwise arising, whether before, on
or after the Closing, out of, or in connection with, any of the Excluded Assets;

(b) all Liabilities of Sellers in respect of Non-Assumed Contracts;

(c) except to the extent that Liabilities are assumed pursuant to Section 1.3(a)
or Section 1.3(b), all litigation and related claims and Liabilities arising out of or in connection
with events occurring on or prior to the Closing Date, no matter when raised;

(d) any and all Liabilities relating to any environmental, health or safety
matter (including any Liability or obligation under any Environmental Law), arising out of or
relating to any Seller’s operation of their respective businesses or their leasing, ownership or
operation of real property on or prior to the Closing Date no matter when raised;

(e) all Liabilities of each Seller in respect of Indebtedness, whether or not
relating to the Business;

(f) any and all Liabilities with respect to the Excluded Plans;

(g) any and all Liabilities for Taxes arising in connection with the transactions
contemplated by this Agreement, except for Transfer Taxes as provided in Section 11.1(a);

(h) any and all Liabilities for Income Taxes attributable to the ownership of
the Purchased Assets or the operation of the Business on or prior to the Closing Date;

(1) any payments due to any equity holders of Sellers in respect of
management or other fees other than compensation owed to equity holders who are Employees
of Sellers in the Ordinary Course of Business;

Gj) all Liabilities set forth on Schedule 1.4(j);

(k) all obligations to pay the amounts owed for goods or services received by
Sellers in the Ordinary Course of Business in respect of any trade and vendor accounts payable,
except for amounts included as Assumed Liabilities pursuant to Section, 1.3(b);

(1) any and all Liabilities of any Seller under any collective bargaining
agreement or any agreement with any labor union; and

(m) except as expressly set forth in Article VI and except pursuant to Section
1.3(c), any liability relating to the employment or termination of employment of any (x) Person
arising from or related to the operation of the Business on or prior to Closing or the transactions
contemplated by this Agreement (including but not limited to, any severance or stay or incentive
bonuses) or (y) Person who is not a Transferred Employee arising after the Closing; and

(n) any Liabilities set forth on Schedule 1.4(n).

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For the avoidance of doubt, except as expressly noted above, none of the Excluded Liabilities
shall be included as Assumed Liabilities.

1.5 Updates to the Purchased Assets, the Excluded Assets, the Assumed Liabilities
and Excluded Liabilities: Cure Costs: Disclosure Schedule Updates.

(a) Notwithstanding anything in this Agreement to the contrary, upon written
notice to Sellers, the Purchaser may revise and update in writing any Sellers’ Schedule setting
forth the Purchased Assets, the Excluded Assets, the Assumed Liabilities and Excluded
Liabilities to:

(i) include in the definition of Purchased Assets (pursuant to the
applicable Schedule) and to exclude from the definition of Excluded Assets, any Contract
of any Seller not previously included in the Purchased Assets, at any time on or prior to
the third 3") Business Day prior to the commencement of the Auction and require

Sellers to give notice to the parties to any such Contract;

(ii) exclude from the definition of Purchased Assets (pursuant to the
applicable Schedule) and to include in the definition of Excluded Assets, any Assigned
Contract of any Seller previously included in the Purchased Assets and not otherwise
included in the definition of Excluded Assets, at any time prior to the Closing;

(iii) exclude from the definition of Purchased Assets (pursuant to the
applicable Schedule) and to include in the definition of Excluded Assets, any asset (other
than a Contract} of any Seller previously included in the Purchased Assets and not
otherwise included in the definition of Excluded Assets, at any time prior to the Closing;

(iv) exclude from the definition of Assumed Liabilities (pursuant to the
applicable Schedule} and to include in the definition of Excluded Liabilities, any Liability
of any Seller previously included in the Assumed Liabilities and not otherwise included
in the definition of Excluded Liabilities, at any time on or prior to the third (3) Business
Day prior to the commencement of the Auction; and

(v) include in the definition of Assumed Liabilities (pursuant to the
applicable Schedule) and to exclude from the definition of Excluded Liabilities, any
Liability of any Seller not previously included in the Assumed Liabilities, at any time
prior to the Closing and require Sellers to give such notice to any third party as is
required for the assumption of such Liability;

provided that no such change of any Sellers’ Schedule, the definition of the Purchased Assets,
the definition of the Excluded Assets, the definition of the Assumed Liabilities or the definition
of the Excluded Liabilities shall increase or decrease the amount of the Purchase Price.

(b) If any change made by the Purchaser pursuant to Section 1.5(a) results in
any Sellers’ Schedule being incorrect or incomplete, Sellers shall be permitted to update, in
writing to the Purchaser, such Sellers’ Schedule solely to the extent necessary to correct or
complete such Sellers’ Schedule.

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(c) If any Contract is added to (or excluded from) the Purchased Assets as
permitted by this Section 1.5, Sellers shall promptly take such steps as are reasonably necessary,
subject to the Purchaser providing payment or adequate assurance of payment of any Cure Costs,
including prompt delivery of notice to the non-debtor counterparty, to cause such Contracts to be
assumed by Sellers, and assigned to the Purchaser, on the Closing Date (or excluded under the
Sale Orders and this Agreement), other than any consents, approvals, waivers, authorizations or
notices that can be overridden or canceled by the Sale Orders or other related order of the
Bankruptcy Courts. Without limiting any of the Purchaser’s rights pursuant to this Section 1.5,
in the event that the Sale Orders do not approve the assignment or transfer of one or more of the
Assigned Contracts, or if a non-debtor counterparty to such Assigned Contract objects to the
proposed Cure Cost or to the assignment of such Assigned Contract, the Purchaser may, in its
sole discretion, prior to the payment of such Cure Cost or the assumption and assignment of such
Assigned Contract, exclude such contract from the Assigned Contracts.

(d) If, subsequent to the entry of the Sales Orders, the Purchaser exercises its
rights under Section 12.8 to designate any other Person to be the assignee under any Assigned
Contract, the Purchaser shall give prompt notice thereof to Sellers, and Sellers shall promptly
take such steps as are reasonably necessary to provide notice to the counterparty to such
Assigned Contract (with an opportunity for such counterparty to object). The Purchaser and
Sellers agree that, notwithstanding the occurrence of the Closing, the assignment of any such
Assigned Contract shall not become effective until the earlier of (i) the passage of the notice
period without the filing of any objection by the counterparty and (ii) the entry of an order at the
applicable Bankruptcy Court overruling any such objection; provided that if the effective date of
assignment of any Assigned Contract is after the Closing due to an exercise of the Purchaser's
rights under Section 12.8, the Purchaser shall be liable for any and all liabilities and obligations
of the Sellers arising under such Assigned Contract from and after the Closing through and
including the effective date of assumption or rejection of such Assigned Contract (excluding any
liabilities and obligations relating to rejection of such Assigned Contract), and shall further
indemnify the Sellers for any losses or liabilities incurred by Sellers after the Closing as a result
of the delay in effectuating the assignment of any such Assigned Contract (excluding, for the
avoidance of doubt, any liabilities and obligations relating to rejection of such Assigned
Contract).

1.6 No Successors. Neither the Purchaser nor any Designated Purchaser shall be
deemed, as a result of any action taken in connection with the purchase of the Purchased Assets,
to: (1) be a successor (or other similarly situated party) to any of Sellers (other than with respect
to the Assumed Liabilities and any obligations under the Acquired Contracts from and after the
Closing Date as expressly stated in this Agreement); or (2) have, de facto or otherwise, merged
with or into any of Sellers or (3) be a continuation or substantial continuation of Sellers or any
business of Sellers.

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ARTICLE II.

CONSIDERATION
2.1 Consideration.

(a) The aggregate consideration (collectively, the “Purchase Price”) to be paid
for the purchase of the Purchased Assets shall be:

(i) (A) an amount in cash sufficient to pay (or cash collateralize, in
the case of letters of credit) in full, all obligations owing under the DIP Credit Agreement
as of the Closing Date, or (B) the agreement of the Purchaser to treat such amounts as an
Assumed Liability, subject to the consent of the DIP Lenders and subject to the release of
Sellers from all obligations owing under the DIP Credit Agreement as of the Closing
Date (in either such case, the “DIP Payment”);

(il) an amount in cash equal to the Wind Down Budget (the “Wind
Down Budget”);

(iii) — the Additional Cash Consideration; and

(iv) the contribution, release or waiver (as the Purchaser may direct in
its sole discretion) of Sellers and any guarantors (and their respective successors and
assigns) of an amount equal to the Claim Contribution Amount (such contribution,
release or waiver, the “Claim Contribution”);

(b) In addition to the foregoing consideration, as consideration for the grant,
sale, assignment, transfer and delivery of the Purchased Assets, the Purchaser shall assume and
discharge the Assumed Liabilities.

ARTICLE II.

CLOSING AND TERMINATION

3.1 Closing. Subject to the satisfaction of the conditions set forth in Sections 9.1 and
9.2 hereof or the waiver thereof by the party entitled to waive the applicable condition, the
closing of the purchase and sale of the Purchased Assets, the delivery of the Purchase Price, the
assumption of the Assumed Liabilities and the consummation of the other transactions
contemplated by this Agreement (the “Closing”) shall take place at the New York office of
Schulte Roth & Zabel LLP (or at such other place as the parties may designate in writing),
subject to Section 3.4, on the date that is two (2) Business Days following the date on which all
of the conditions set forth in Section 9.1 and Section 9.2 have been satisfied (other than
conditions that by their nature are to be satisfied at the Closing) or waived by the party entitled to
waive the applicable condition, unless another time or date, or both, are agreed to in writing by
the parties hereto. The date on which the Closing shall be held is referred to in this Agreement
as the *Closing Date.” Unless otherwise agreed by the parties in writing, upon the filing of the
Information Officer’s Certificate, the Closing shall be deemed effective and all right, title and

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interest of each of Sellers in the Purchased Assets to be acquired by the Purchaser hereunder
shall be considered to have passed to the Purchaser and the assumption of all of the Assumed
Liabilities shall be considered to have occurred as of 12:01 a.m. Eastern Time on the Closing
Date.

3.2 Closing Deliveries by Sellers. At the Closing, Sellers shall deliver to the
Purchaser:

 

(a) a duly executed bill of sale with respect to the Purchased Assets,
substantially in the form attached hereto as Exhibit A;

(b) a duly executed assignment and assumption agreement with respect to the
Assumed Liabilities, substantially in the form attached hereto as Exhibit B;

(c) true and correct copies of the Sale Orders;

(d) a true and correct copy of the Information Officer’s Certificate; provided
that all events to be certified therein by the Information Officer have occurred; provided further
Sellers shall cause the Information Officer’s Certificate to be filed with the Canadian Court
immediately thereafter;

{e) a duly executed non foreign person affidavit of each of Sellers (other than
any Seller organized in a non-U.S. jurisdiction) (or, in the case of a Seller that is a disregarded
entity for U.S. federal income tax purposes, the Person treated as the “transferor” with respect to
such Seller within the meaning of Treasury Regulations Section 1.1445-2(b)(2)(iii)) dated as of
the Closing Date, sworn under penalty of perjury and in form and substance required under the
Treasury Regulations issued pursuant to Section 1445 of the Code, stating that such Seller is not
a “foreign person” as defined in Section 1445 of the Code;

(f) the officer’s certificates required to be delivered pursuant to Sections

9.2(e) and 9.2(f):

(g) certificates representing the Foreign Subsidiary Stock, duly endorsed in
blank or accompanied by duly executed stock powers or other instruments of assignment
requested by and reasonably satisfactory in form and substance to the Purchaser;

(h) a statement that sets forth all Employees (including former Employees)
who experienced an Employment Loss in the ninety (90) days immediately preceding the
Closing Date;

(t) a statement, as of the last day of the calendar month immediately
preceding the Closing, setting forth any amounts owed to third parties by Sellers arising in the
Ordinary Course of Business as of such date and which constitute Assumed Liabilities pursuant
to Section 1.3(b); provided that if the Closing occurs prior to the 20% day of the month, such
statement shall be as of the last day of the second calendar month preceding the Closing; and

(i) the Sellers’ Documents.

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3.3 Closing Deliveries by the Purchaser. At the Closing, the Purchaser shall deliver
to (or at the direction of) Sellers:

 

(a) the Purchase Price, in the form of (i) cash in an amount sufficient to fund
the Wind Down Budget by wire transfer of immediately available funds to one or more accounts
designated by Sellers, (11) (A) the DIP Payment by wire transfer of immediately available funds
to the DIP Agent on behalf of itself and the DIP Lenders or (B) the agreement of the Purchaser to
treat such amounts as an Assumed Liability, along with evidence (reasonably acceptable to
Sellers) of the consent of the DIP Lenders to such assumption and to the release of Sellers from
all obligations owing under the DIP Credit Agreement as of the Closing Date, (iii) cash in an
amount equal to the Additional Cash Consideration and (iv) the Claim Contribution Amount;

(b) a duly executed assignment and assumption agreement substantially in the
form attached hereto as Exhibit B:

(c) the officer’s certificates required to be delivered pursuant to Sections

9.1(d) and 9.1(e);

(d) satisfactory evidence of the payment of the Cure Costs (or establishment
of appropriate reserves therefor) and;

(e) the Purchaser’s Documents.

3.4 Termination of Agreement. This Agreement may be terminated as follows:

 

(a) by the mutual written consent of Allied and the Purchaser at any time prior
to the Closing;

(b) by either the Purchaser or Allied, if the Closing shall not have been
consummated on or prior to the close of business on October 14, 2013 (the “Outside Date”),
except to the extent that the Closing is delayed by the Purchaser pursuant to Section 6.3(c);
provided, however, that the Outside Date shall be automatically extended for up to an additional
sixty (60) days only if the Closing has not occurred as a result of the need to obtain any consent,
waiver, approval, order, Permit or authorization of any Governmental Body required in
connection with the Closing; provided, further, that the Purchaser and Allied shall have the right
to extend the Outside Date upon such parties’ mutual written agreement on or prior to the
Outside Date; provided, further, that the right to terminate this Agreement under this Section
3.4(b) shall not be available to any party whose failure to fulfill any material obligation under
this Agreement has been the cause of, or resulted in, the failure of the Closing to occur on or
before such date;

(c) by either the Purchaser or Allied, if there shall be any Law that makes
consummation of the transactions contemplated hereby illegal or otherwise prohibited, or there
shall be in effect a final non-appealable order of a Governmental Body of competent jurisdiction
restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby; it being agreed that the parties hereto shall promptly appeal any adverse
determination which is appealable (and pursue such appeal with reasonable diligence);

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(d) by either the Purchaser or Allied, if there shall be entered any order of a
court of competent jurisdiction determining that BDCM Opportunity Fund II, L.P., Black
Diamond CLO-2005, Ltd., Spectrum Investment Partners, L.P. and American Money
Management do not constitute Requisite Lenders (as defined in the First Lien Credit Agreement
and the First Lien Credit Documents);

(e) by the Purchaser, if any Chapter 11 Case is converted to a case or cases
under Chapter 7 of the Bankruptcy Code and the Chapter 7 trustee in the bankruptcy case notifies
the Purchaser in writing that the Chapter 7 trustee does not intend to pursue the transactions
contemplated hereunder;

(f} by the Purchaser, if (A) the Bidding Procedures Order shall not have been
issued by the U.S. Bankruptcy Court by the close of business on the day that is thirty (30) days
after a motion has been filed with the U.S. Bankruptcy Court seeking approval of the Bidding
Procedures Order (subject to court availability) and recognized by the Canadian Court by the
close of business on the day that is ten (10) days after the Bidding Procedures Order has been
issued by the U.S. Bankruptcy Court (subject to court availability) or (B) following its entry, and
its recognition by the Canadian Court, the Bidding Procedures Order shall fail to be in full force
and effect or shall have been stayed, reversed, modified or amended in any respect without the
prior written consent of the Purchaser and Allied; provided that the right to terminate this
Agreement under this Section 3.4(f) shall not be available to the Purchaser if the Purchaser’s
failure to fulfill any material obligation under this Agreement has been the cause of, or resulted
in, the failure of the Bidding Procedures Order to meet these requirements on or before such
date;

(g) by the Purchaser, if (A) the U.S. Sale Order shall not have been issued by
the U.S. Bankruptcy Court by the close of business on August 16, 2013 and the Canadian Sale
Order shall not have been issued by the Canadian Court by the close of business on the day that
is ten (10) days after the issuance of the U.S. Sale Order by the U.S. Bankruptcy Court (subject
to court availability) or (B) following its entry, and its recognition by the Canadian Court, the
Sale Orders (1) shall fail to be in full force and effect or shall have been stayed or reversed and
the Sales Orders are not reinstated or such stay has not been lifted prior to the Outside Date, or
(2) shall have been modified or amended in any respect without the prior written consent of the
Purchaser and Allied; provided that the right to terminate this Agreement under this
Section 3.4(g) shall not be available to the Purchaser if the Purchaser’s failure to fulfill any
material obligation under this Agreement has been the cause of, or resulted in, the failure of the
Sale Orders to meet these requirements on or before such date. For the avoidance of doubt, the
failure to satisfy any condition to Closing set forth in Section 9,2 of this Agreement shall not be
deemed a failure of Purchaser to fulfill any obligation of Purchaser hereunder;

(h) by either the Purchaser or Allied on the forty-fifth (45") day following the
entry of sale orders approving an Alternative Transaction (or the ninetieth (90") day following
the entry of such sale orders if such Alternative Transaction has not closed by such date as a
result of the need to obtain any consent, waiver, approval, order, Permit or authorization of any
Governmental Body required in connection with such Alternative Transaction) (it being

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understood that Purchaser shall not have the right to terminate this Agreement upon the
completion of an Auction where the Purchaser is not the Successful Bidder);

(i) automatically upon consummation of an Alternative Transaction;

(j) by Allied, if the Purchaser has breached any representation, warranty,
covenant or agreement contained in this Agreement and as a result of such breach the conditions
set forth in Section 9.1(c) and Section 9.1(d) hereof, as the case may be, would not then be
satisfied at the time of such breach; provided, however, that if such breach is curable by the
Purchaser within thirty (30) days through the exercise of its reasonable best efforts, then for so
long as the Purchaser continues to exercise such reasonable best efforts Sellers may not terminate
this Agreement under this Section 3.4(j) unless such breach is not cured within thirty (30) days
from written notice to the Purchaser of such breach; provided, further, that Sellers are not then in
material breach of the terms of this Agreement, and provided, further, that no cure period shall
be required for a breach which by its nature cannot be cured;

(k) by the Purchaser, if Sellers have breached any representation, warranty,
covenant or agreement contained in this Agreement (other than Section 8.15) and as a result of
such breach the conditions set forth in Section 9.2(d) and Section 9.2(e) hereof, as the case may
be, would not then be satisfied at the time of such breach; provided, however, that if such breach
is curable by Sellers within thirty (30) days through the exercise of their respective reasonable
best efforts, then for so long as Sellers continue to exercise such reasonable best efforts the
Purchaser may not terminate this Agreement under this Section 3.4(k) unless such breach is not
cured within thirty (30) days from written notice to Sellers of such breach; provided, further, that
the Purchaser is not then in material breach of the terms of this Agreement, and provided,
Jurther, that no cure period shall be required for a breach which by its nature cannot be cured;

 

(1) by the Purchaser, if between the Execution Date and the Closing Date,
there occurs a Material Adverse Effect;

(m) by Allied, if all of the conditions set forth in Section 9.2 have been
satisfied (other than conditions that by their nature are to be satisfied at the Closing) or waived
and the Purchaser fails to deliver the Purchase Price at the Closing; or

(n) by the Purchaser, if the Seller Disclosure Schedule and any other Schedule
deliverable by Sellers pursuant to this Agreement (the “Sellers’ Schedules”) are not acceptable in
form and substance to the Purchaser (in its sole discretion) by May 31, 2013.

3.5 Procedure Upon Termination. In the event of a termination of this Agreement
pursuant to Section 3.4, (a) if such termination is by the Purchaser or Sellers, or both, written
notice thereof shall be given promptly by the terminating party to the other parties hereto,
specifying the provision hereof pursuant to which such termination is made, (b) except as
contemplated by Section 3.6, this Agreement shall thereupon terminate and become void and of
no further force and effect and (c) the consummation of the transactions contemplated by this
Agreement shall be abandoned without further action of the parties hereto. If this Agreement is
terminated as provided herein, each party shall redeliver all documents, work papers and other

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material of any other party relating to the transactions contemplated hereby, whether so obtained
before or after the execution hereof, to the party furnishing the same.

3.6 Effect of Termination. In the event that this Agreement is validly terminated as
provided herein, then each of the parties shall be relieved of its duties and obligations arising
under this Agreement effective as of the date of such termination and such termination shall be
without Liability to the Purchaser or Sellers; provided, however, that Section 3.4, Section 3.5,
this Section 3.6, Section 3.7, Article XII, the Bidding Procedures Order (if entered) and, if
applicable pursuant to Section 7.1, the Sellers’ obligation to pay the Purchaser’s Expense
Reimbursement shall survive any such termination and shall be enforceable hereunder. In no
event shall any termination of this Agreement relieve any party hereto of any Liability for any
willful breach of this Agreement by such party.

 

 

3.7 Liquidated Damages. If Allied terminates this Agreement pursuant to Section
3.4) or Section 3.4(m), the Purchaser shall, as liquidated damages for breach of contract and as
Sellers’ sole and exclusive remedy, cause to be assigned or transferred to Sellers, free and clear
of all Encumbrances, an amount equal to the first $5 million otherwise distributable to the First
Lien Lenders (pro rata amongst the First Lien Lenders) on account of the secured obligations
held by the First Lien Lenders under the First Lien Credit Agreement and the First Lien Credit
Documents (the “Claim Assignment”). The Purchaser and Sellers agree that this amount is a
reasonable sum given that it is impractical or extremely difficult to establish the amount of
damages that would be actually suffered by Sellers in the event that the Purchaser were to breach
this Agreement.

ARTICLE IV.

REPRESENTATIONS AND WARRANTIES OF THE SELLERS

Sellers hereby, jointly and severally, make the representations and warranties in this
Article IV to the Purchaser as of the Execution Date (except with respect to representations and
warranties made as of a particular date, which shall be deemed to be made only as of such date),
except as qualified or supplemented by Sections in the Seller Disclosure Schedule to be delivered
pursuant to this Agreement (regardless of whether there is an express reference to the Seller
Disclosure Schedules in the representations and warranties contained in this Article 1V; provided
that information furnished in any particular section of the Seller Disclosure Schedule shall not be
deemed to be included in any other sections of the Seller Disclosure Schedule unless such
information is specifically listed or cross-referenced in such other sections of the Seller
Disclosure Schedule), as the same may be amended or modified in accordance with Section 1.5
hereof. Each such Section of the Seller Disclosure Schedule is numbered by reference to
representations and warranties in a specific Section of this Article LV.

4.1 Corporate Organization and Qualification. Allied is a corporation duly

incorporated, validly existing and in good standing under the Laws of the State of Delaware.
Except as a result of the commencement of the Bankruptcy Cases, Allied is qualified and in good
standing as a foreign corporation in each jurisdiction where the properties owned, leased or
operated or the conduct of its Business require such qualification, except as would not have or

would not reasonably be expected to have, individually or in the aggregate, a Material Adverse
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Effect. Each of the other Allied Entities is duly organized, validly existing and in good standing
under the Laws of its respective jurisdiction of organization. Except as a result of the
commencement of the Bankruptcy Cases and except as set forth in Section 4.1 of the Seller
Disclosure Schedule, each of the other Allied Entities is qualified and in good standing as a
foreign entity in each jurisdiction where the properties owned, leased or operated or the conduct
of its respective Business require such qualification, except as would not have or would not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.
Each Allied Entity has all requisite corporate, limited liability company or other organizational,
as applicable, power and authority to own, lease and operate its properties and to carry on the
Business as it is now being conducted, subject to the provisions of the Bankruptcy Code.

4.2 Allied and Subsidiaries.

(a) Section 4.2(a) of the Seller Disclosure Schedule sets forth a true and
complete list of the names and jurisdictions of organization of each Allied Entity.

(b) Section 4.2(b) of the Seller Disclosure Schedule sets forth each
corporation, association or other entity (other than another Allied Entity) in which each Allied
Entity owns, of record or beneficially, any direct or indirect equity or other ownership interest or
any right (contingent or otherwise) to acquire the same.

(c) Except as set forth in Section 4.2(c) of the Seller Disclosure Schedule, all
Foreign Subsidiary Stock is owned, directly or indirectly, by one or more Sellers free and clear
of all Encumbrances, other than Permitted Encumbrances. All of the issued outstanding shares
of capital stock of each of the Foreign Subsidiaries have been duly authorized and are validly
issued, fully paid and nonassessable, and have not been issued in violation of any preemptive
right, rights of first refusal or similar rights. All of the outstanding shares of capital stock of each
of the Foreign Subsidiaries were issued in compliance with all applicable Laws, including
securities Laws. Except as set forth on Section 4.2(c} of the Seller Disclosure Schedule, there
are no issued or outstanding shares of capital stock, equity securities or securities containing any
equity features of any Foreign Subsidiary, and there are no subscriptions, options, warrants, calls,
commitments, phantom shares, phantom equity interests or other rights, agreements,
undertakings or arrangements existing or outstanding obligating any Allied Entity to issue,
deliver or sell, or cause to be issued, delivered or sold, any such shares of capital stock, equity
securities or securities containing any equity features of any Foreign Subsidiary.

4.3 Authority Relative to This Agreement. Except for such authorization as is
required by the Bankruptcy Courts and receipt of any Regulatory Approvals, each Seller has all
requisite corporate, limited liability company or other organizational, as applicable, power, and
authority to (a) execute and deliver this Agreement, (b) execute and deliver each other
agreement, document, instrument or certificate contemplated by this Agreement or to be
executed by Sellers in connection with the consummation of the transactions contemplated by
this Agreement set forth on Section 4.3 of the Seller Disclosure Schedule attached hereto (the
“Sellers” Documents”), and (c} perform its obligations hereunder and thereunder and
consummate the transactions contemplated hereby and thereby. Subject to and assuming entry of
the Sale Orders, the execution and delivery of this Agreement and the Sellers’ Documents, and

the consummation of the transactions contemplated hereby and thereby, have been duly
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authorized by all requisite corporate, limited liability company or other organizational, as
applicable, action on the part of Sellers. This Agreement has been, and at or prior to the Closing,
each of the Sellers’ Documents will be, duly and validly executed and delivered by each Seller
and (assuming the due authorization, execution and delivery by the other parties hereto and
thereto, and the entry of the Sale Orders) this Agreement constitutes, and each of the Sellers’
Documents when so executed and delivered will constitute, legal, valid and binding obligations
of each Seller, enforceable against each Seller in accordance with its respective terms except as
enforceability may be limited by bankruptcy, insolvency, reorganization and moratorium Laws,
other similar Laws affecting creditors’ rights and general principles of equity affecting the
availability of specific performance and other equitable remedies (collectively, “Bankruptcy

Exceptions”).

44 Conflicts; Consents of Third Parties.

(a) Except as set forth on Section 4.4(a) of the Seller Disclosure Schedule,
except for such consents, approvals, waivers, authorizations or notices that can be overridden or
canceled by the Sale Orders or other related order of the Bankruptcy Courts and subject to and
assuming entry of the Sale Orders, none of the execution and delivery by Sellers of this
Agreement or any Sellers’ Document, the consummation of the transactions contemplated hereby
or thereby, or compliance by Sellers with any of the provisions hereof or thereof will conflict
with, or result in any violation of or constitute a breach or default (with or without notice or lapse
of time, or both) under, or give rise to a right of acceleration, payment, amendment, termination
or cancellation under any provision of (i) Allied’s certificate of incorporation, Allied’s bylaws,
or the certificate of incorporation or bylaws (or other comparable organizational documents) of
any of the other Allied Entities; (ii) any Material Contract or Material Permit that constitutes a
Purchased Asset; (iii) any order of any Governmental Body applicable to any Allied Entity or
any of the properties or assets of the Allied Entities, including the Purchased Assets, or the
Business as of the Execution Date; or (iv) any applicable Law, other than (x) under the Antitrust
Laws, or (y) in the case of clauses (ii), (iii) and (iv), such conflicts, violations, defaults,
terminations or cancellations that would not have, individually or in the aggregate, a Material
Adverse Effect.

(b) Except as set forth on Section 4.4(b) of the Seller Disclosure Schedule, no
order, Permit or declaration or filing with, or notification to, any Governmental Body is required
on the part of the Allied Entities in connection with the execution and delivery of this Agreement
or the Sellers’ Documents, the compliance by Sellers with any of the provisions hereof or
thereof, the consummation of the transactions contemplated hereby or thereby or the taking by
the Allied Entities of any other action contemplated hereby or thereby, except for (1) the entry of
the Sale Orders, (11) such orders, Permits, declarations, filings and notifications as may be
required under the Antitrust Laws, and (iit) such other orders, Permits, declarations, filings and
notifications, the failure of which to obtain or make would not have, individually or in the
aggregate, a Material Adverse Effect.

4.5 Absence of Certain Developments. Except for actions taken in connection with
the Bankruptcy Cases, as contemplated or expressly required or permitted by this Agreement, or
as set forth in Section 4.5 of the Seller Disclosure Schedule, since December 31, 2012, the

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Business has been conducted in the Ordinary Course of Business, and none of the Allied Entities
has:

(a) acquired any material assets, other than acquisitions of Equipment or
Inventory in the Ordinary Course of Business;

(b) sold, leased, transferred or assigned assets having in the aggregate a fair
market value in excess of $250,000;

(c} accelerated, terminated, modified, amended, or cancelled any Material
Contract, or waived, released or assigned any material rights or claims thereunder in a manner
materially adverse to the Allied Entities;

(d)} imposed or created any Encumbrance (other than Permitted
Encumbrances) upon any of the Purchased Assets, tangible or intangible, that would be binding
on the Purchaser;

(e) incurred or made any capital expenditures other than in accordance with
the Capital Expenditure Covenants;

(DH created, incurred, assumed or guaranteed any Indebtedness that would be
binding upon the Purchaser or any Designated Purchaser;

(g) transferred, assigned abandoned or granted any license or sublicense of
any rights under or with respect to any Assumed Intellectual Property;

(h) experienced any damage, destruction or other casualty loss affecting the
tangible Purchased Assets and resulting in an aggregate loss in excess of $1,000,000;

(i) granted any bonus opportunity or any increase in any type of
compensation or benefits, including severance or termination pay, to any of its current or former
directors, Employees or consultants;

(j) paid any bonus to any former or current Employee;

(k) delayed or postponed the payment of undisputed accounts payable or any
other undisputed Liabilities of the Business in any material respect (except as required by the
Bankruptcy Code);

(1) adopted, made or agreed to (i) any welfare, pension, retirement, profit-
sharing, incentive compensation or similar plan, program, payment or arrangement for any
Employee except pursuant to the existing Seller Plans or (ii) any new employment or change of
control agreement;

(m) made any material addition to or modification of any Seller Plan, other
than (i) contributions to such plans made in the Ordinary Course of Business or (ii) the extension
of coverage to Employees of the Allied Entities who became eligible after December 31, 2012;

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(n) changed any finance or Tax accounting methods, principles or practices,
except insofar as may have been required by a change in GAAP or applicable Law;

(0) made any Tax election or any settlement or compromise of any material
Tax Liability;

(p) received any written notice of any cancellation or termination of any
Assigned Contract that is a Material Contract, including without limitation, such Assigned
Contracts with Acquired Customers; and

(q) entered into or agreed to enter into any lease or other contractual
arrangement pursuant to which the Allied Entities would be required to make payments in excess
of $500,000 from and after the Execution Date and prior to the end of the earlier of (i) the terms
of the applicable agreement, and (ii) the twelve month anniversary of the Execution Date.

4.6 Litigation. Except in connection with the Bankruptcy Cases and except as set
forth in Section 4.6 of the Seller Disclosure Schedule, there is no material litigation, action,
claim, suit, proceeding, or, to the Knowledge of Sellers, investigation (collectively, “Actions”),
pending, or, to the Knowledge of Sellers, threatened against any Allied Entity relating to the
Business or the Purchased Assets that would have, individually or in the aggregate, a Material
Adverse Effect or give rise to an Assumed Liability. Except in connection with the Bankruptcy
Cases and as set forth in Section 4.6 of the Seller Disclosure Schedule, no Allied Entity is subject
to any judgment, decree, injunction, or order of any court, arbitration panel or other
Governmental Body that relates to the Business or the Purchased Assets and for which the Allied
Entities have continuing obligations or Liabilities.

4.7 Intellectual Property.

(a) Section 4.7(a) of the Seller Disclosure Schedule sets forth a true, complete
and correct list of all (i) patents, registered trademarks, registered copyrights, Internet domain
names, and applications for any of the foregoing, in each case that are material to the operation
of the Business and that are Owned Intellectual Property (collectively, the “Registered IP”) and
(ii) a list of all other material Owned Intellectual Property that constitutes trademarks, service
marks, trade names, logos, brand names, computer software or computer programs and a list of
all Licensed Intellectual Property material to the operation of the Business (except for
Intellectual Property licensed pursuant to off the shelf software and licenses implied in the sale
of such software or hardware and licenses of software or hardware that are widely available
commercially for a purchase price of less than $50,000).

(b) Section 4.7(b) of the Seller Disclosure Schedule sets forth a true, complete
and correct list of all material software, databases, licenses, and contracts that are included in,
comprise or are related to the Owned Intellectual Property set forth in Section 4.7(a) of the Seller
Disclosure Schedule, except for off the shelf software or hardware and licenses implied in the
sale of such software or hardware and licenses of software or hardware that are widely available
commercially for a purchase price of less than $50,000.

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9) Except as set forth on Section 4.7(c) of the Seller Disclosure Schedule, (i)
each of the Allied Entities owns the Owned Intellectual Property, free from any Encumbrances,
other than Permitted Encumbrances, and free from any requirement of any present or future
material royalty payments or license fees; and (ii} no action is pending, or to the Knowledge of
Sellers, threatened, challenging the validity, enforceability, registration, ownership or use of any
of the Registered IP.

(d) To the Knowledge of Sellers, neither the Allied Entities nor any of their
respective products or services is infringing upon, misappropriating, diluting or otherwise
violating, the Intellectual Property of any third party and no Person is imfringing upon,
misappropriating, diluting or otherwise violating, any Seller Intellectual Property. Except as set
forth on Section 4.7(b) of the Seller Disclosure Schedule, there is no pending claim, action or
proceeding alleging that the Allied Entities are infringing, misappropriating, diluting or
otherwise violating the Intellectual Property rights of any Person, and to the Knowledge of
Sellers, no such claims are threatened, except in the case of threatened claims as would not have,
individually or in the aggregate, a Material Adverse Effect.

(e) Except as set forth on Section 4.7(e) of the Seller Disclosure Schedule and
except as would not be, individually or in the aggregate, material to the Allied Entities, the
Allied Entities own or have the right to use the Seller Intellectual Property as used in the conduct
of the Business as currently conducted, free and clear from any Encumbrances (other than
Permitted Encumbrances and subject to the terms and conditions of any agreement pursuant to
which such Seller Intellectual Property was obtained).

4.8 Agreements, Contracts and Commitments; Certain Other Agreements.

(a) Section 4.8(a) of the Seller Disclosure Schedule sets forth the following
types of material executory Contracts that are unexpired as of the Execution Date relating to the
Business to which any Allied Entity is a party or by which it is bound or any of the Purchased
Assets are bound as of the Execution Date (such Contracts set forth below are collectively
referred to as the “Material Contracts”’):

(i) Contracts with Top Customers;

(ii) | Contracts requiring payments by or to any Allied Entity in excess
of $250,000 during the twelve month period ended April 30, 2013;

(iii) Contracts with Top Suppliers;

(iv) | Contracts pursuant to which the Allied Entities, from and after the
Execution Date through the twelve (12) month anniversary of the Execution Date, would
be required to make payments in excess of $250,000 on an annualized basis, assuming
such Contracts were renewed on substantially similar terms;

(v) employment agreements or similar agreements;

(vi) severance agreements or similar agreements;

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(vii) collective bargaining agreements with any labor unions;
(viii) the Assumed Plans;

(ix) the Assumed Retention Incentive Agreements;

(x) the Assumed Real Property Leases;

(xi) Personal Property Leases involving annual payments in excess of
$250,000 relating to tangible personal property, including Equipment, used by any Allied
Entity in the Business or to which any Allied Entity is a party or by which the personal
property, including Equipment, of any Allied Entity is bound;

(xii) Contracts that: (A) limit or restrict in a material respect any Allied
Entity or any of its Affiliates from engaging in any business or other activity in any
jurisdiction; or (B) create or purport to create any exclusive relationship or arrangement
that is restrictive on any Allied Entity or the Business;

(xili) Contracts granting to any Person (other than any Allied Entity or
any direct or indirect subsidiary of any Allied Entity) an option or a right of first refusal,
first-offer or similar preferential right to purchase or acquire any of the Purchased Assets;

(xiv) Contracts involving annual payments in excess of $250,000 (1)
with respect to Seller Intellectual Property licensed or transferred to any third party or (ii)
pursuant to which a third party has licensed or transferred any Intellectual Property to an
Allied Entity (in the case of both (i) and (ii), except for off the shelf software or hardware
or hardware and licenses implied in the sale of such software or hardware and licenses of
software or hardware that are widely available commercially for a purchase price of less
than $50,000);

(xv) joint venture or partnership Contracts or Contracts entitling any
Person (other than any Allied Entity or any direct or indirect subsidiary of any Allied
Entity) to any profits, revenues or cash flows of the Allied Entities or requiring payments
or other distributions based on such profits, revenues or cash flows (excluding in each
case ordinary course compensation to Employees or independent contractors (including
base salary and bonus opportunity)); and

(xvi) Contracts with any Governmental Body.

(b) Except as set forth on Section 4.8(b) of the Seller Disclosure Schedule or
as a result of the Bankruptcy Cases, no Allied Entity has received any written notice of any
material outstanding or uncured default by such Allied Entity under any Material Contract .

(c) Except as set forth on Section 4.8(c) of the Seller Disclosure Schedule,
Sellers have heretofore delivered or made available to the Purchaser, or will have delivered or
made available to the Purchaser on or prior to the Schedule Delivery Date, true and complete
copies of all Material Contracts that are in writing, including all amendments, modifications,

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schedules and supplements thereto and all waivers with respect thereto; provided that Sellers
shall be entitled to redact any Material Contracts to the extent necessary to avoid violation of any
antitrust or other similar competition Laws (it being understood that Sellers do not believe any
such Laws would be violated as a result of the disclosure of the Material Contracts to the
Purchaser). Any such investigations and examinations shall be conducted during regular
business hours upon reasonable advance notice and under reasonable circumstances and shall be
subject to restrictions under applicable Law. Assuming (x) the entry of the Sale Orders, (y) the
payment of all applicable Cure Costs, and (z) due execution by the other party or parties thereto,
as of the Closing Date, to the Knowledge of Sellers, each Material Contract will be in full force
and effect and, subject to the Bankruptcy Exceptions, enforceable in accordance with its terms
against each Allied Entity that is a party thereto.

4.9 Regulatory Matters; Permits.

(a) All of the material Permits that are necessary for the operation of the
Business as currently conducted and the ownership of the Purchased Assets are held by the
Allied Entities and are in full force and effect, except as a result of the Bankruptcy Cases
(collectively, the “Material Permits”).

(b) Each Allied Entity is in material compliance with its obligations under
each of the Material Permits, except as a result of the Bankruptcy Cases.

(c) Each Material Permit is valid and in full force and effect and there is no
proceeding, notice of violation, order of forfeiture or complaint or investigation against any
Allied Entity relating to any of the Material Permits pending or, to the Knowledge of the Seller,
threatened, before any Governmental Body, in each case except as a result of the Bankruptcy
Cases and except as would not have, individually or in the aggregate, a Material Adverse Effect.

4.10 Brokers and Finders. Except as set forth in Section 4.10 of the Seller Disclosure
Schedule, Sellers have not employed, and to the Knowledge of Sellers, no other Person has made
any arrangement by or on behalf of Sellers with any investment banker, broker, finder,
consultant or intermediary in connection with the transactions contemplated by this Agreement
which would be entitled to any investment banking, brokerage, finder’s or similar fee or
commission in connection with this Agreement or the transactions contemplated hereby.

4.11 Title to Assets. At Closing, the Allied Entities will have (and, to the extent
permitted by Section 363 and Section 365 of the Bankruptcy Code and to the extent provided by
the Sale Orders and assuming receipt of all required consents and approvals (including
Regulatory Approvals) from any Governmental Bodies or third parties, shall convey to the
Purchaser at the time of the transfer of the Purchased Assets to the Purchaser and the filing of the
Information Officer’s Certificate) good and marketable title or a valid leasehold interest in and to
each of the Purchased Assets free and clear of all Encumbrances (other than Permitted
Encumbrances) and Liabilities (other than Assumed Liabilities). At Closing, the Allied Entities
will have (and, to the extent permitted by Section 363 and Section 365 of the Bankruptcy Code
and to the extent provided by the Sale Orders and assuming receipt of all required consents and
approvals (including Regulatory Approvals) from any Governmental Bodies or third parties,
shall convey to the Purchaser at the time of the transfer of the Purchased Assets to the Purchaser)
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valid leasehold interests in the Assumed Personal Property Leases and the Assumed Real
Property Leases, free and clear of all Encumbrances (other than Permitted Encumbrances) and
Liabilities (other than Assumed Liabilities). The Purchased Assets constitute all of the
properties, assets and rights (other than the Excluded Assets) used by the Allied Entities or
necessary for the Purchaser to conduct and operate the Business as currently conducted and
operated by the Allied Entities. The Purchased Assets sold by each Canadian Seller constitutes
all or substantially all of the property (other than Excluded Assets) used by such Canadian Seller
in carrying on its business.

4.12 Real Property.

(a) Section 4.12(a) of the Seller Disclosure Schedule sets forth the street
address of each Owned Real Property. The Allied Entities have good and marketable,
indefeasible, fee simple title to the Owned Real Property subject to Permitted Encumbrances.
Sellers have made available to the Purchaser true, correct and complete copies of the recorded
deeds and other instruments by which the Allied Entities acquired the Owned Real Property, and
true, correct and complete copies of all title insurance policies in favor of the Allied Entities.

(b) Section 4,12(b)(i) of the Seller Disclosure Schedule sets forth a complete
and correct list of all Leased Real Property specifying the address or other information sufficient
to identify all such Leased Real Property. Subject to Permitted Encumbrances, each Assumed
Real Property Lease grants the Allied Entities the right to use and occupy the applicable
Assumed Leased Real Property in accordance with the terms thereof. Except as set forth on
Section 4.12(b)\i1) of the Seller Disclosure Schedule, the Allied Entities have not leased or
granted to any Person the right to access, enter upon, use, occupy, lease, manage, operate,
maintain, broker or purchase any portion of the Allied Entities’ interest in the Leased Real
Property, that is not otherwise an Assumed Liability or a Permitted Encumbrance or that will not
otherwise be terminated on or prior to the Closing Date. Seliers have made available to the
Purchaser complete copies of all Assumed Real Property Leases. With respect to each Assumed
Real Property Lease, no Allied Entity owes any brokerage commissions or finder’s fees with
respect to any such Assumed Real Property Lease which is not paid or accrued in full.

(c) No material damage or destruction has occurred with respect to any Real
Property for which an Allied Entity may be liable.

(d) —_ Utilities and other services necessary for the operation of the premises
leased pursuant to each Assumed Real Property Lease are available at such premises.

(e) Except for the Assumed Liabilities and Permitted Encumbrances, no Real
Property that is included in the Purchased Assets is subject to (i) any Encumbrances, or (ii) any
decree or order of a Governmental Body (or, to the Knowledge of Sellers, threatened decree or
order of a Governmental Body) that would prevent the operation of such Real Property for the
purposes for which it is currently being utilized.

4.13 Compliance with Law. Each Allied Entity is in compliance in all respects with all
applicable Laws. No Allied Entity has received any written notice of any alleged violation of
any Law applicable to it or them. No Allied Entity is in default in any respect of any order of

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any Governmental Body applicable to the Purchased Assets or the transactions contemplated
under this Agreement. None of the representations and warranties contained in this Section 4.13
shall be deemed to relate to Tax matters (which are governed by Section 4.14), employment
matters (which are governed by Section 4.15), employee benefits matters (which are governed by
Section 4.16) or environmental matters (which are governed by Section 4.19).

4.14 Tax Returns; Taxes. Except as set forth in Section 4.14 of the Seller Disclosure
Schedule:

 

(a) All Tax Returns required to have been filed by the Allied Entities have
been duly filed and are true, correct and complete in all material respects. No extension of time
in which to file any such Tax Returns is in effect.

(b) All Taxes due and payable by the Allied Entities (whether or not shown on
any Tax Return) have been paid in full or are accrued as Liabilities for Taxes on the books and
records of the Allied Entities. The accruals and reserves with respect to Taxes (other than any
reserve for deferred Taxes established to reflect timing differences between book and Tax
income) are adequate to cover all Taxes of the Allied Entities accruing or payable with respect to
Tax Periods (or portions thereof) ending before the Execution Date.

(c) No claims have been asserted in writing, no Taxes have been assessed and
no proposals or deficiencies for any amount of Taxes of the Allied Entities are being asserted or,
to the Knowledge of Sellers, are being proposed or threatened, and no audit or investigation of
any Tax Return of the Allied Entities is currently underway, pending or, to the Knowledge of
Sellers, threatened.

(d) Since January 1, 2011, no claim has been made against the Allied Entities
by any Governmental Body in a jurisdiction where the Allied Entities do not currently file Tax
Returns that the Allied Entities are or may be subject to taxation in such jurisdiction.

(e) The Allied Entities have withheld and paid all Taxes required to have been
withheld and paid by them to the appropriate Government Body in connection with amounts paid
or owing to any employee, independent contractor, creditor or shareholder thereof or other third

party.

(f) There are no Encumbrances for Taxes with respect to the Allied Entities,
or their respective assets, nor is there any such Encumbrance that, to the Knowledge of Sellers, is
pending or threatened other than Permitted Encumbrances.

(g) | None of the Allied Entities has executed or filed with any Governmental
Body any agreement or waiver extending the period for assessment, reassessment or collection of
any material Taxes. No Allied Entity has made an election, nor is any Allied Entity required, to
treat any Purchased Asset as owned by another Person or as tax-exempt bond financed property
or tax-exempt use property within the meaning of Section 168 of the Code or under any
comparable provision of state or local Tax law.

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(h) To the Knowledge of Sellers, none of the Allied Entities has any liability
for Taxes of any other Person as a transferee or successor, by law or by contract other than
any contract (except a contract which generally addresses tax sharing, tax indemnities or tax
allocation) entered into in the ordinary course of business or pursuant to commercial lending
atrangements.

(i) None of the Allied Entities has engaged in any “listed transaction” within
the meaning of Treasury Regulations Section 1.6011-4(b).

(j) No Canadian Seller has been, and is not now a financial institution for the
purposes of the Excise Tax Act (Canada). Each Canadian Seller is a registrant for the purposes
of the Excise Tax Act (Canada) and its registrant number is set forth on Section 4.14 of the Seller
Disclosure Schedule.

(k) The Canadian Sellers will have paid and satisfied all Canadian federal and
provincial sales Taxes, goods and services Taxes, harmonized sales Taxes and other similar
Taxes applicable to the Business operated by the Canadian Sellers or to the Purchased Assets
sold by the Canadian Sellers (other than on the transfer thereof to the Purchaser) with respect to
all periods prior to the Closing to the extent such Taxes are due and remittable on or before the
Closing under applicable Law.

(1) None of the Purchased Assets constitutes “taxable Canadian property” for
the purposes of the Jncome Tax Act (Canada) to an Allied Entity that is not a Canadian Seller.

(m) Each Canadian Seller is not a non-resident of Canada for the purposes of
the Income Tax Act (Canada).

4.15 Employees. Except as set forth in Section 4.15 of the Seller Disclosure Schedule:

(a) Section 4.15(a) of the Seller Disclosure Schedule contains a true and
correct list of the Employees as of the Execution Date, specifying their position and annual
salary. The Allied Entities are in compliance in all material respects with all Laws relating to the
employment and termination of employment of current and former Employees, and no Allied
Entity has any direct or indirect material Liability with respect to any misclassification of any
Person as an independent contractor rather than as an employee, or with respect to any Employee
leased from another employer.

(b) Except as set forth in Section 4.15(b) of the Seller Disclosure Schedule or
as contemplated by this Agreement, the Allied Entities do not presently intend to take any action
that would result in a “mass layoff’ or “plant closing” as defined in the WARN Act or similar
employment Laws in other applicable jurisdictions (collectively, “Applicable Employment
Legislation”) between the Execution Date and the Closing Date. With respect to any
Employment Loss that occurred within the one year preceding the Execution Date, the Allied
Entities have complied with all of the requirements of the WARN Act or of other Applicable
Employment Legislation.

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(c) There are no claims or proceedings pending or, to the Knowledge of
Sellers, threatened, between the Allied Entities and any present or former Employee or group of
present or former Employees. As of the Execution Date, there are no strikes, slowdowns, work
stoppages, lockouts, or, to the Knowledge of Sellers, threats thereof, by or with respect to any
Employees of the Allied Entities.

(d) No Allied Entity is a party to or bound by, either directly or by operation
of Law, any collective bargaining agreement, labor contract, letter of understanding, letter of
intent, voluntary recognition agreement or similar agreement with any labor union, trade union
or employee organization or group which may qualify as a trade union in respect of or affecting
Employees or have any bargaining rights (whether acquired by certification, voluntary
recognition or otherwise) with respect to Employees, nor, to the Knowledge of Sellers, is any
Allied Entity subject to any union or employee association organization effort, nor is any Allied
Entity engaged in any labor negotiation. There are no, and within the prior twelve (12) months
there have not been any, (i) strikes, work stoppages, work slowdowns or lockouts pending or, to
the Knowledge of Sellers, threatened against or involving any Allied Entity, or (ii) unfair labor
practice charges, grievances or complaints pending or, to the Knowledge of Sellers, threatened
by or on behalf of any present or former Employee or group of present or former Employees (or
any Person acting on behalf of any such Employee or group of Employees). No Allied Entity
has an obligation to make any severance or termination payment to any Employee in excess of
any amount payable under applicable Law.

(e) The Allied Entities are in compliance in all material respects with all
applicable Laws respecting labor, employment, employment practices and standards, fair
employment practices, terms and conditions of employment, immigration, human rights,
employment equity, pay equity, privacy, workers’ compensation, Canada Pension Plan,
employment insurance, employer health tax, occupational health and safety, plant closings and
wages and hours. The Allied Entities have withheld all material amounts required by Law or by
agreement to be withheld from the wages, salaries and other payments to Employees, and are not
liable for any arrears of wages or any Taxes or any material penalty for failure to comply with
any of the foregoing. To the Knowledge of Sellers, no Employees are in violation of any term of
any employment Contract, non-disclosure agreement, noncompetition agreement, or any
restrictive covenant to a former employer relating to the right of any such Employee to be
employed by the Allied Entities because of the nature of the business conducted by the Allied
Entities or to the use of trade secrets or proprietary information of others.

(fH All levies, assessments or other amounts owing under the Workplace
Safety and Insurance Act (Ontario) and under the workers’ compensation legislation of any other
jurisdiction where the Allied Entities carry on business or employ Employees have been paid in
full. The Allied Entities have not been and are not subject to any additional or penalty
assessment under such legislation which has not been paid and have not been given notice of any
audit. The accident cost experience of the Allied Entities is such that there are no pending nor, to
the Knowledge of Sellers, potential assessments, experience rating charges or claims which
could adversely affect the premium payments or accident cost experience in connection with the
Business.

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(g) There are no outstanding or, to the Knowledge of Sellers, threatened
inspection orders, violations, investigations or prosecutions against any of the Allied Entities or
the Business under any health and safety laws.

4.16 Assumed Plans. Except as provided in Section 4.16 of the Seller Disclosure
Schedule:

(a) Each Assumed Plan 1s listed in Section 4.16(a) of the Seller Disclosure
Schedule.

(b) Section 4.16(b) of the Seller Disclosure Schedule sets forth a list of each
of the Assumed Plans which is a “multiemployer plan” (as defined in Section 3(37) of ERISA), a
“multiple employer plan” (within the meaning of Section 413(c) of the Code), or a “multiple
employer welfare arrangement” (as defined in Section 3(40)(A) of ERISA), or is or has been
subject to Title IV of ERISA or Code Section 412 or 430 or is a “multi-employer pension plan”
as defined in subsection 1(1) of the Pension Benefits Act (Ontario), or section 2 of the Pension
Benefits Act, 1985 (Canada) or in Section 11 of the Supplemental Pension Plans Act (Quebec) or
a “negotiated contribution plan” as defined in section 2 of the Pension Benefits Standards Act,
£985 (Canada).

(c) Each Assumed Plan has been established, registered (where required),
administered and invested in accordance with its terms and in material compliance with ail
applicable Laws, except for any failures to do any of the foregoing that would not have or would
not reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.
Each Assumed Plan that is intended to be a “qualified plan” within the meaning of Section
401(a) of the Code (“Qualified Plan”) and each trust that is intended to be exempt under Section
501 of the Code (“Exempt Trust”) has received a determination letter or may rely upon an
opinion letter from the Internal Revenue Service to the effect that such Qualified Plan is so
qualified and such Exempt Trust is so exempt, and, to the Knowledge of Sellers, nothing has
occurred since the date of the most recent Internal Revenue Service determination or opinion
letter, as applicable, that would reasonably be expected to adversely affect the tax-qualified
status of any Qualified Plan or the tax-exempt status of any Exempt Trust and have, individually
or in the aggregate, a Material Adverse Effect.

(d) There is no action, order, writ, injunction, judgment or decree outstanding
or proceeding, arbitral action, governmental audit, or investigation relating to, or seeking benefits
under, any Assumed Plan that is pending or, to the Knowledge of Sellers, threatened against any
of the Allied Entities (other than any claims for benefits under the Assumed Plans in the
Ordinary Course of Business). None of the Allied Entities or, to the Knowledge of Sellers, any
fiduciary of any Assumed Plan, has any material liability with respect to any transaction in
violation of Sections 404 or 406 of ERISA or any “prohibited transaction,” as defined in Section
4975(c)(1) of the Code, for which no exemption exists under Section 408 of ERISA or Section
4975(c)(2) or (d) of the Code.

(e) No Assumed Plan provides post-retirement or post-termination employee
welfare benefits (including death, medical or health benefits) to or in respect of any Employees
or former employees of the Allied Entities or their beneficiaries other than pursuant to COBRA
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or other applicable Law. No Assumed Plan is subject to Title IV of ERISA, except as listed in
Section 4.16(b) of the Seller Disclosure Schedule. All material contributions or premiums
required to be made by the Allied Entities to or under each Assumed Plan have been made in a
timely fashion in accordance with applicable Law, the terms of the applicable Assumed Plan and
any applicable collective bargaining agreement.

(f) Section 4.16(f) of the Seller Disclosure Schedule sets forth a list of each of
the Assumed Plans that is a “registered pension plan” or a “retirement compensation
arrangement”, each as defined under the Income Tax Act (Canada).

(zg) The sole financial obligation of any Allied Entity in respect of any
Canadian Assumed Plan is to make required contributions in the amounts and manner set forth in
the applicable collective agreement, trust agreement or participation agreement. There is no
Assumed Plan with respect to Employees of any Canadian Seller that is a defined benefit plan for
which the Allied Entities are or, to Knowledge of Sellers, could reasonably be expected to be
liable for a deficiency or any withdrawal liability.

(h) Neither the execution and delivery of this Agreement nor the
consummation of the transactions contemplated hereby (whether alone or in conjunction with
any other event) will result in forgiveness of Indebtedness or the acceleration or creation of any
tights of any Person to benefits under any Assumed Plan (including the acceleration of the
accrual or vesting of any benefits or payments under any such Assumed Plan or the acceleration
or creation of any rights under any employment, severance, retention, parachute or change in
control agreement the right to receive any transaction bonus or other similar payment) or the
obligation to take action to secure any benefits or payment payable under any Assumed Plan.

417 Affiliate Matters. Except as set forth in Section 4.17 of the Seller Disclosure
Schedule and except for any employment or severance agreements, the Assumed Retention
Incentive Agreements, the Management Retention Incentive Agreements, any Seller Plans and
any indemnification agreements with any directors or officers, no {a} shareholder, officer or
director of the Allied Entities, (b) entity in which any such shareholder, officer or director owns
any beneficial interest (other than any Allied Entity, any direct or indirect subsidiary of any
Allied Entity, or a publicly held corporation whose stock is traded on a national securities
exchange or in the over-the-counter market and less than five percent (5%) of the stock of which
is beneficially owned by such shareholders, officers or directors in the aggregate), or (c) Affiliate
of any of the foregoing (other than any Allied Entity or any direct or indirect subsidiary of any
Allied Entity): (i) is a party to any Contract with, or relating to, the Allied Entities, their
respective businesses, the Purchased Assets or the Assumed Liabilities; or (ii) owns any property
(real, personal or mixed, tangible or intangible) used by the Allied Entities in the operation of the
Business. Section 4.17 of the Seller Disclosure Schedule also sets forth a true, correct and
complete list of all accounts receivable, notes receivable and other recetvables and accounts
payable owed to or due from any such Person described above by or to any Allied Entity but
solely with respect to the Business except for any compensation payable to such officers or
directors in their capacity as Employees in the Ordinary Course of Business or pursuant to any
employment or severance agreements, the Assumed Retention Incentive Agreements, the

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Management Retention Incentive Agreements, any Seller Plans or any indemnification
agreements.

4.18 Insurance Policies. All insurance policies owned or held by any Allied Entity
related to or otherwise applicable to the Business (the “Insurance Policies”) (or substitute
policies with substantially similar terms and underwritten by insurance carriers with substantially
similar or higher ratings) are in full force and effect, all premiums with respect thereto covering
all periods up to and including the Closing Date have been paid (or will be paid prior to the
Closing), and no written notice of cancellation or termination has been received by any Allied
Entity with respect to any Insurance Policy. Except as set forth in Section 4.18 of the Seller
Disclosure Schedule, there are no pending, or to the Knowledge of Sellers, threatened claims
under any Insurance Policy.

4.19 Environmental Matters. To the Knowledge of Sellers (a) each Allied Entity is in
compliance in all respects with all Environmental Laws, (b) there is no investigation, suit, claim,
action or judicial or administrative proceeding relating to or arising under Environmental Laws
that is pending or, to the Knowledge of Sellers, threatened against any Allied Entity, any Owned
Real Property, any Leased Real Property or any of the other Purchased Assets, (c) none of the
Owned Real Property or Leased Real Property has been listed on the federal National Priorities
List under the Comprehensive Environmental Response, Compensation and Liability Act
(CERCLA) or any other similar state list of known or suspected contaminated sites, (d) no
Hazardous Materials have been treated, stored or Released by any Allied Entity or, to the
Knowledge of the Sellers by any other Person at, on or under the Owned Real Property or Leased
Real Property in any manner or concentration that requires investigation, removal or remediation
under Environmental Laws or would otherwise cause any Allied Entity or any future owner or
operator of any Owned Real Property or Leased Real Property to incur material liability under
Environmental Laws, and (e) no Allied Entity has received any notice of or entered into any
order, settlement, judgment, injunction or decree involving uncompleted, outstanding or
unresolved obligations, liabilities or requirements relating to or arising under Environmental
Laws.

4.20 Customers, Vendors and Suppliers. Section 4.20 of the Seller Disclosure
Schedule sets forth a complete and accurate list of Top Customers and Top Suppliers and the
amounts received by or paid to the Allied Entities from each such Top Customer and the
amounts received by or paid to each such Top Supplier from the Allied Entities during the twelve
month period ended April 30, 2013. “Top Customers” are the top twenty-four (24) customers
that have purchased the most products or services from the Business, in terms of dollar amount,
during the twelve month period ended April 30, 2013. “Top Suppliers” are the top fifty (50)
vendors and/or suppliers that have sold the most products or services to the Business, in terms of
dollar amount, during the twelve month period ended April 30, 2013. The Top Customers
represent approximately 95% of the revenue earned by the Business during the twelve month
period ended April 30, 2013. The Top Suppliers represent approximately 70% of the vendor and
supplier expenses of the Business during the twelve month period ended April 30, 2013. No Top
Customer or Top Supplier has given any Allied Entity notice terminating, canceling or reducing,
or threatening to terminate, cancel or reduce, any Contract with Allied Entity. Except as set forth
on Section 4.20 of the Seller Disclosure Schedule, no Top Customer or Top Supplier has

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proposed, or given any Allied Entity notice of its intention to propose, any price structure
changes or any other changes (in each case that would be adverse to any Allied Entity) to any
Contract with any Allied Entity, nor, to the Knowledge of Sellers, does any Top Customer or
Top Supplier intend to propose a change to the price structure (that would be adverse to any
Allied Entity) of any such Contract or any other change (that would be adverse to any Allied
Entity) to any such Contract.

4.21 Accounts Receivable. The Allied Entities have provided reserves for Accounts
Receivable in accordance with GAAP and Allied’s accounting policies as consistently applied in
the Ordinary Course of Business by the Allied Entities. All Accounts Receivable represent valid
obligations arising from bona fide business transactions in the Ordinary Course of Business.

4.22 Capital Expenditures. Sellers have made available to the Purchaser the most
recent capital spending plans as of the Execution Date of the Allied Entities relating to the
Business or the Purchased Assets.

4.23 Budget. The Budget sets forth Sellers’ expectations regarding the matters set
forth therein, and is based upon the good faith estimates and assumptions made by the
management of the Allied Entities.

4.24 Absence of Undisclosed Liabilities. Except as set forth in Section 4.24 of the
Seller Disclosure Schedule, the Allied Entities do not have any Liabilities, except (i) Liabilities
reflected on the liabilities side of the balance sheets of the Allied Entities as of December 31,
2012, (ii) Liabilities that have arisen after December 31, 2012 in the Ordinary Course of
Business or otherwise in accordance with the terms and conditions of this Agreement and which
are not material, individually or in the aggregate, (iii) Liabilities that are or will be Excluded
Liabilities; and (iv) payment obligations of the Allied Entities that have not accrued or been
incurred, and non-payment performance obligations of the Allied Entities, in each case, under
Contracts entered into in the Ordinary Course of Business and in compliance with applicable
Law.

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4.25 Foreign Subsidiary Financial Statements.

 

(a) Sellers have made available to the Purchaser true and correct copies of the
Foreign Subsidiary Financial Statements. Each balance sheet included in the Foreign Subsidiary
Financial Statements presents fairly in all material respects the financial position of the relevant
Foreign Subsidiary as of the date thereof, subject in the case of any unaudited balance sheets to
the absence of footnotes and similar presentations items and year-end audit adjustments normal
in nature and amount. The other financial statements included in the Foreign Subsidiary
Financial Statements present fairly the results of the operations of the relevant Foreign
Subsidiary for the periods therein set forth, subject in the case of any unaudited balance sheets to
the absence of footnotes and similar presentations items and year-end audit adjustments normal
in nature and amount. The Foreign Subsidiary Financial Statements have been prepared and
presented in accordance with GAAP consistently applied during the periods therein (except as
noted therein and for the absence of footnotes and similar presentation items and year-end audit
adjustments normal in nature and amount).

(b) Except as set forth in Section 4.25 of the Seller Disclosure Schedule or in
the Foreign Subsidiary Financial Statements, no Foreign Subsidiary has outstanding any
indebtedness, nor has it engaged in any “off balance sheet” or similar financing, of a type which
would not be required to be shown or reflected in the Foreign Subsidiary Financial Statements.

4.26 No Other Representations or Warranties. Except for the representations and
warranties contained in this Article IV (as modified by the Seller Disclosure Schedule), no Seller
nor any other Person has made or is making any express or implied representation or warranty
with respect to the Allied Entities, the Business, the Purchased Assets, the Assumed Liabilities or
the transactions contemplated by this Agreement, and Sellers disclaim any other representations
or warranties, whether made by Sellers, any Affiliate of Sellers or any of their respective
Representatives. Except for the representations and warranties contained in this Article IV (as
modified by the Seller Disclosure Schedule), Sellers expressly disclaim and negate any
representation or warranty, expressed or implied, at common law, by statute, or otherwise,
relating to the condition of the Purchased Assets (including any implied or express warranty of
merchantability or fitness for a particular purpose). Sellers make no representations or
warranties to the Purchaser regarding the probable success or profitability of the Business.

ARTICLE V.

REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

The Purchaser hereby makes the representations and warranties in this Article V_ to
Sellers as of the Execution Date (except with respect to representations and warranties made as
of a particular date, which shall be deemed to be made only as of such date), except as qualified
or supplemented by Sections in the Purchaser Disclosure Schedule attached hereto:

5.1 Organization and Qualification. The Purchaser is a limited liability company duly
organized, validly existing and in good standing under the Laws of its jurisdiction of formation.
The Purchaser is qualified and in good standing as a foreign entity in each jurisdiction where the
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properties owned, leased or operated, or the business conducted by it require such qualification
except as would not have or reasonably be expected to have a material adverse effect on the
Purchaser’s ability to consummate the transactions contemplated by this Agreement. The
Purchaser has all requisite limited liability company power and authority to own its properties
and to carry on its business as it is now being conducted except as would not have or reasonably
be expected to have a material adverse effect on the Purchaser’s ability to consummate the
transactions contemplated by this Agreement.

5.2. Authority Relative to This Agreement. The Purchaser has the requisite limited
liability company power and authority to (a) execute and deliver this Agreement, (b) execute and
deliver each other agreement, document, instrument or certificate contemplated by this
Agreement or to be executed by the Purchaser in connection with the consummation of the
transactions contemplated hereby and thereby, which are set forth on Section 5.2 of the
Purchaser Disclosure Schedule attached hereto (the “Purchaser’s Documents”), and (c) perform
its obligations hereunder and thereunder and consummate the transactions contemplated hereby
and thereby. The execution, delivery and performance by the Purchaser of this Agreement and
each applicable Purchaser’s Document have been duly authorized by all necessary limited
liability company action on behalf of the Purchaser. This Agreement has been, and at or prior to
the Closing each applicable Purchaser’s Document will be, duly and validly executed and
delivered by the Purchaser and (assuming the due authorization, execution and delivery by the
other parties hereto and thereto) this Agreement constitutes, and each the Purchaser’s Document
when so executed and delivered will constitute, legal, valid and binding obligations of the
Purchaser, enforceable against the Purchaser in accordance with their respective terms, subject to
the Bankruptcy Exceptions.

5.3 Consents and Approvals: No Violation.

(a) Except as set forth on Section 5.3(a) of the Purchaser Disclosure Schedule,
none of the execution and delivery by the Purchaser of this Agreement or the Purchaser’s
Documents, the consummation of the transactions contemplated hereby or thereby, or the
compliance by the Purchaser with any of the provisions hereof or thereof will conflict with, or
result in any violation of or default (with or without notice or lapse of time, or both) under, or
give rise to a right of acceleration, payment, amendment, termination or cancellation under any
provision of (i) the governing documents of the Purchaser, (ii) any Contract (including but not
limited to any Contracts related to financing) or Permit to which the Purchaser is a party or by
which the Purchaser or its properties or assets are bound, (iii) any order of any Governmental
Body applicable to the Purchaser or by which any of the properties or assets of the Purchaser are
bound, or (iv) any applicable Law, other than (x) under the Antitrust Laws, or (y) in the case of
clauses (ii), (iii), and (iv), except as would not have or reasonably be expected to have a material
adverse effect on the Purchaser’s ability to consummate the transactions contemplated by this
Agreement.

(b) Except for the Antitrust Laws and except as set forth on Section 5.3(b) of
the Purchaser Disclosure Schedule, no consent, waiver, approval, order, Permit or authorization
of, or declaration or filing with, or notification to, any Governmental Body or other Person nor
any other Regulatory Approval is required on the part of the Purchaser in connection with the

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execution and delivery of this Agreement or the Purchaser’s Documents, the compliance by the
Purchaser with any of the provisions hereof or thereof, the consummation of the transactions
contemplated hereby or thereby or the taking by the Purchaser of any other action contemplated
hereby or thereby, or for the Purchaser to operate the Purchased Assets, except for (i) such
orders, Permits, declarations, filings and notifications as may be required under the Antitrust
Laws, and (ii) such other orders, Permits, declarations, filings and notifications, the failure of
which to obtain or make would not have or reasonably be expected to have a material adverse
effect on the Purchaser’s ability to consummate the transactions contemplated by this
Agreement.

5.4 Brokers and Finders. The Purchaser has not employed, and to the knowledge of
the Purchaser, no other Person has made any arrangement by or on behalf of the Purchaser with,
any investment banker, broker, finder, consultant or intermediary in connection with the
transactions contemplated by this Agreement which would be entitled to any investment
banking, brokerage, finder’s or similar fee or commission in connection with this Agreement or
the transactions contemplated hereby.

5.5 Adequate Assurances Regarding Assigned Contracts. As of the Closing, the
Purchaser will be capable of satisfying the conditions contained in Sections 365(b)(1)(C) and
365(f) of the Bankruptcy Code with respect to the Assigned Contracts.

5.6 Litigation. Except as set forth on Section 5.6 of the Purchaser Disclosure
Schedule, there is no Action pending against the Purchaser or any of its Affiliates that challenges
or seeks to prevent, enjoin or otherwise delay the transactions contemplated by this Agreement.

5.7 Financing.

(a) The Purchaser will have at the Closing sufficient cash or other sources of
immediately available funds to enable it to pay all amounts to be paid in cash by it hereunder.

(b) On or prior to the date on which the Bidding Procedures Order is entered,
the Purchaser shall deliver to Sellers executed commitment letters pursuant to which, and subject
to the terms and conditions thereof, the parties thereto have committed to provide the financing
set forth therein for the purpose of funding the cash consideration identified in Section 2.1(a)(i)

and Section 2.1(a)(ii).

5.8 Credit Bid Rights. Administrative Agents have assigned to the Purchaser the
right to “credit bid” under the First Lien Credit Agreement and the First Lien Credit Documents
and authorized the Purchaser to make the Claim Contribution.

5.9 No Other Representations or Warranties; Investigation. | Notwithstanding
anything contained in this Agreement to the contrary, the Purchaser acknowledges and agrees
that no Seller is making any representations or warranties whatsoever, express or implied,
beyond those expressly given by Sellers in Article IV (as modified by the Seller Disclosure
Schedule), and the Purchaser acknowledges and agrees that, except for the representations and
warranties contained therein, the Purchased Assets and Assumed Liabilities are being transferred
on an “as is” and “where is” basis. The Purchaser further represents that no Seller or any of its

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Affiliates or any other Person has made any representation or warranty, express or implied, as to
the accuracy or completeness of any information regarding Sellers or any of their Affiliates, the
Business or the transactions contemplated by this Agreement not expressly set forth in this
Agreement. The Purchaser acknowledges that it has conducted to its satisfaction its own
independent review and analysis of the Business, the Purchased Assets and the Assumed
Liabilities, of the value of such Purchased Assets and of the business, operations, technology,
assets, Liabilities, financial condition and prospects of the Business, and the Purchaser
acknowledges that Sellers have provided the Purchaser with access to the personnel, properties,
premises and records of the Business for this purpose. The Purchaser has conducted its own
independent review of all orders of, and all motions, pleadings, and other submissions to, the
Bankruptcy Courts in connection with the Bankruptcy Cases. In entering into this Agreement
and in making the determination to proceed with the transactions contemplated by this
Agreement, the Purchaser has relied upon its own investigation and analysis as well as the
representations and warranties made by Sellers in Article [V (as modified by the Seller
Disclosure Schedule).

ARTICLE VI.

EMPLOYEES

6.1] Employees. Effective as of the Closing, the Purchaser or a Designated Purchaser
(the “Employment Offering Purchaser Entity”) shall offer employment to such of the Employees
and on such terms and conditions of employment as Purchaser shall determine in its sole
discretion, except to the extent otherwise required by applicable employment Laws. Each
Employee to whom the Employment Offering Purchaser Entity has made an offer of
employment pursuant to this Section 6.1 and that has accepted such offer and commences
employment with the Employment Offering Purchaser Entity on or shortly following the Closing
Date is hereinafter referred to as a “Transferred Employee”. All accrued but unpaid
compensation of each Transferred Employee as of the Closing shall be the responsibility of the
Employment Offering Purchaser Entity.

6.2 Seller Plans. Sellers shall retain all Liabilities with respect to the Excluded Plans.
Purchaser shall assume all Liabilities with respect to the Assumed Plans.

6.3 WARN Act.

(a) Subject to Section 6.3(c), Sellers shall be solely responsible for any
obligations under the WARN Act or under any Applicable Employment Legislation that might
arise on or prior to the Closing, including as a consequence of the transactions contemplated by
this Agreement as a result of the Purchaser’s employment offer(s} and/or decision(s) not to
employ certain Employees, including providing any notice of layoff or plant closing, or
maintaining the Employees on Sellers’ or the Employment Offering Purchaser Entity’s payroll,
as applicable, for any period of notice required by the WARN Act or Applicable Employment
Legislation.

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(b) Sellers shall, with the Purchaser’s consent, which consent shall not be
unreasonably withheld, take all actions and provide all notices to Employees as required under
WARN or Applicable Employment Legislation or as reasonably requested by the Purchaser.

(c) If Sellers are unable to comply with their obligations under the WARN
Act or under any Applicable Employment Legislation prior to the Closing solely because
Purchaser has not provided Sellers a sufficient period of time to comply with such obligations
prior to the Closing, Purchaser must either (i) elect to delay the Closing until Sellers have fully
complied with such obligations; provided that the Purchaser may not delay the Closing to a date
later than the maturity date of the DIP Credit Agreement; or (ii) elect to assume (and be solely
responsible for) such obligations.

6.4 No Third-Party Beneficiaries. Notwithstanding anything set forth in this Article
VI, nothing contained herein, whether express or implied, (i) shall be treated as an amendment or
other modification of any Seller Plan or (ii) shall limit the right of (A) any Employment Offering
Purchaser Entity to amend, terminate or otherwise modify any Assumed Plan following the
Closing Date or (B) any Seller to amend, terminate or otherwise modify any Excluded Plans
following the Closing Date. Sellers and the Purchaser acknowledge and agree that all provisions
contained in this Article VI with respect to current or former employees of Sellers are included
for the sole benefit of Sellers and the Employment Offering Purchaser Entities, and that nothing
herein, whether express or implied, shall create any third party beneficiary or other rights (1) in
any other Person, including any current or former employees, directors, officers or consultants of
Sellers, any participant in any Seller Plan, or any dependent or beneficiary thereof, or (ii) to
continued employment with any Employment Offering Purchaser Entity.

6.5 Information. To the extent permitted by applicable Laws, Sellers shall make
available to each Employment Offering Purchaser Entity information in Sellers’ possession
relating to each Transferred Employee of Seller as such Employment Offering Purchaser Entity
may reasonably require in connection with its employment or engagement of such individuals,
including initial employment dates, termination dates, reemployment dates, hours of service,
compensation and tax withholding history in a form that shall be usable by such Employment
Offering Purchaser Entity; provided, however, Sellers shall not provide certain Transferred
Employee personal information (e.g., Social Security numbers, medical information, other
personal information, etc.) without advance written permission from the Transferred Employee.

6.6 Service Credit. The Employment Offering Purchaser Entity shall, or shall cause
one or more of its subsidiaries to, provide Transferred Employees with service credit under the
Purchaser’s benefit plans in which the Transferred Employees become eligible to participate
based on such Transferred Employees’ service with Sellers (or any other service for which any
Seller gave such Transferred Employee credit) for purposes of eligibility, participation, vesting
and benefit accrual (other than under any defined benefit plan whether qualified or non-
qualified); provided, however, that there shall be no duplication by the Employment Offering
Purchaser Entity of any benefits provided by Sellers. The Employment Offering Purchaser
Entity also shall, or shall cause one or more of its subsidiaries to, credit Transferred Employees
the amount of vacation and paid time off that such Transferred Employees had accrued under
any applicable plan of any Seller as of the Closing Date.

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6.7 Welfare Plans. With respect to any welfare benefit plans maintained by the
Purchaser or its applicable subsidiaries for the benefit of Transferred Employees on and after the
Closing Date, the Employment Offering Purchaser Entity shall, or shall cause one or more of its
subsidiaries to, use its reasonable best efforts to (a) give credit in determining any deductible
limitations, co-payments and out of pocket maximums to any amounts paid by such Transferred
Employees under Sellers’ welfare plans for the calendar year in which the Closing Date occurs
with respect to similar welfare benefit plans maintained by the Employment Offering Purchaser
Entity or one or more of its subsidiaries in which such Transferred Employees participate, (b)
with respect to any health benefit plans maintained by the Employment Offering Purchaser
Entity or its applicable subsidiaries, waive or cause to be waived eligibility waiting periods,
evidence of insurability requirements or pre-existing condition limitations or exclusions with
respect to the Transferred Employees’ participation in any such health benefit plans,' and (c)
give such Transferred Employees credit for any unused contributions as of the Closing Date with
respect to any health care or dependent care spending accounts of Sellers; provided that the
amount of any unused contribution are transferred to the Employment Offering Purchaser Entity.

6.8 Rollovers. The Employment Offering Purchaser Entity shall, or shall cause one
or more of its subsidiaries to, amend its 401(k) plan(s) to permit Transferred Employees to make
rollever contributions to a 401(k) plan of the Purchaser of any direct rollover distributions,
within the meaning of Section 401(a)(31) of the Code, from any 401(k) plan of Sellers, and such
rollover contribution may include promissory notes for loans made to such Transferred
Employees under the terms of Sellers’ 401(k) plan(s).

6.9 Payroll Withholding. With respect to Transferred Employees, Sellers will provide
the Purchaser with all payroll, withholding and other information necessary to complete Forms
W-2 and W-3 in accordance with the “alternative procedure” described in Revenue Procedure
2004-53 (or Canadian equivalent), and the Purchaser agrees to complete such forms, and take
withholdings, for the Transferred Employees for the calendar year in which the Closing Date
occurs in accordance with such “alternative procedure.” .

6.10 FMLA Information. Prior to the Closing, Sellers will provide the Purchaser a
true, correct and complete list of (1} each Employee who is eligible to request FMLA leave as of
the Closing Date and the amount of FMLA leave utilized by each such employee during the
current leave year; (ii) each Employee who will be on FMLA leave at the Closing Date and his
or her job title and description, salary and benefits; and (iii) each Employee who has requested
FMLA leave to begin after the Closing Date, a description of the leave requested and a copy of
ali notices provided to such employee regarding such leave.

6.11 Communications. No Seller nor any Representative of Sellers shall make any
communication to Employees regarding any Purchaser Benefit Plan or any compensation or
benefits to be provided after the Closing Date without the advance approval of the Purchaser.

 

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ARTICLE VIL.

BANKRUPTCY COURT MATTERS

71 Bankruptcy Court Approval of the Bidding Procedures Order and Sale Orders;
Determination of Cure Costs.

 

(a) Sellers hereby confirm that it is integral to the process of arranging an
orderly sale of the Purchased Assets to proceed by selecting the Purchaser as the “stalking horse”
bidder, subject to (1) approval and/or recognition from the Bankruptcy Courts and (11) any higher
or better offers that may be obtained by Sellers for all of the Purchased Assets owned by them.
Sellers acknowledge that the contributions of the Purchaser to the process have provided
substantial benefit to the estate of Sellers and that the Purchaser would not have invested the
effort in negotiating and documenting the transaction provided for herein and incurring
obligations to pay its outside advisers if the Purchaser were not entitled to reimbursement of its
Transaction Expenses incurred or arising through and including the date that this Agreement is
validly terminated by Sellers or the Purchaser pursuant to Section 3.4, on the terms set forth in
this Section 7.1(a) (the “Purchaser’s Expense Reimbursement”). Subject to U.S. Bankruptcy
Court approval of the Bidding Procedures Order and the recogmtion thereof by the Canadian
Court, the Purchaser’s Expense Reimbursement shall be payable to the Purchaser in the event
that this Agreement is terminated pursuant to Section 3.4(b), Section 3.4(d), Section 3.4(e),
Section 3.4(g), Section 3.4() or Section 3.4(k); provided, however, that the Purchaser’s Expense
Reimbursement shall not be payable if the Purchaser’s failure to fulfill any material obligation
under this Agreement has been the cause of, or resulted in, the event giving rise to the right of
termination. The payment of the Purchaser’s Expense Reimbursement, if payable in accordance
with the foregoing, (i) shall be paid directly to the Purchaser upon the closing of any Alternative
Transaction (or in the case of a termination pursuant to Section 3.4(e} or Section 3.4(k), promptly
upon written demand) and the Bidding Procedures Order shall establish that payment of the
Purchaser’s Expense Reimbursement shall be a condition precedent to the closing of such
Alternative Transaction, and (ii) unless and until paid, the Bidding Procedures Order shall
establish that the Purchaser’s Expense Reimbursement shail constitute super-priority
administrative expenses of Sellers under Sections 503(b) and 507 of the Bankruptcy Code, The
Purchaser’s Expense Reimbursement shall be the joint and several obligation of Sellers. As used
herein, “Transaction Expenses” means the reasonable and documented, out-of-pocket costs,
expenses, disbursements and charges (including reasonable and documented fees and expenses
of legal counsel, financial advisors and other professionals reasonably retained by the Purchaser,
and any filing fees, in each case, based upon invoices, in summary form, redacted to preserve
attorney-client privilege and work product protection) incurred by the Purchaser or any of its
Affiliates in connection with or relating to the negotiation, preparation and/or implementation of
this Agreement and/or any of the transactions contemplated by this Agreement (whether incurred
or arising before, on or after the Execution Date); provided that Transaction Expenses shall not
exceed Three Million Dollars ($3,000,000).

 

(b) Contemporaneously with the execution of this Agreement, Sellers shall
file and serve a motion (the “U.S. Sale Motion”) with the U.S. Bankruptcy Court, in the form
attached hereto as Exhibit C, seeking:

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(i) An order in the form attached hereto as Exhibit D, with any
amendments or modifications that may be required by the U.S. Bankruptcy Court (the
“Bidding Procedures Order”):

 

(1) scheduling a hearing before the U.S. Bankruptcy Court (the
“Sale Hearing”) to consider approval of the proposed sale (the “Sale”) of
the Purchased Assets by Sellers to the Purchaser or another Successful
Bidder following an Auction pursuant to this Agreement;

(2) establishing the objection deadline in connection with the
proposed Sale;

(3) approving the form of, and notice procedures relating to,
the notice of the Auction and Sale Hearing and the notice of assumption
and assignment of executory Contracts as part of the Sale;

(4) scheduling an Auction to the extent that Sellers receive
additional higher and/or otherwise better offers for the Purchased Assets;

(5) approving the Purchaser’s Expense Reimbursement in

accordance with Section 7.1(a);

(6) approving the bidding procedures (the “Bidding
Procedures”) set forth in the Bidding Procedures Order; and

 

(ii) | upon completion of the Sale Hearing, the entry of the U.S. Sale
Order:

(c) Within two (2) Business Days of the issuance of the Bidding Procedures
Order, Allied, as foreign representative in the CCAA Case, shall file a motion seeking an order
from the Canadian Court substantially in the form attached as Exhibit F recognizing the Bidding
Procedures Order which motion shall be scheduled to be heard by the Canadian Court within five
(5) Business Days of the issuance of the Bidding Procedures Order by the U.S. Bankruptcy Court
(subject to court availability).

(d) Within two (2) Business Days of the issuance of the U.S. Sale Order,
Allied, as foreign representative in the CCAA Case, shall file a motion seeking an order from the
Canadian Court substantially in the form attached as Exhibit G recognizing the U.S. Sale Order
and vesting the Purchased Assets of the Canadian Sellers in the Purchaser, which motion shall be
scheduled to be heard by the Canadian Court within five (5) Business Days of the entry of the
U.S. Sale Order (subject to court availability).

(e) In the event an appeal is taken or a stay pending appeal is requested, with
respect to the Sale Orders, (i) Sellers shall promptly notify the Purchaser of such appeal or stay

request and shall promptly provide to the Purchaser a copy of the related notice of appeal or
order of stay and (ii) the parties shall promptly defend such appeal with reasonable diligence.

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Sellers shall also provide the Purchaser with written notice of any motion or application filed in
connection with any appeal from either of such orders.

(f) The Purchaser acknowledges that to obtain authonzation of the U.S.
Bankruptcy Court for the Sale Order, Sellers must demonstrate that they have taken reasonable
steps to obtain the highest or otherwise best offer possible for the Purchased Assets, and that
such demonstration shall include giving notice of the transactions contemplated by this
Agreement to its creditors and interested parties as ordered by the U.S. Bankruptcy Court, and, if
necessary, conducting an Auction in respect of the Purchased Assets and that Sellers may enter
into a definitive agreement for the sale of the Purchased Assets, and consummate the sale of the
Purchased Assets to any such prospective buyer. From and after the date on which the U-S.
Bankruptcy Court enters the Bidding Procedures Order, Sellers and their agents may solicit bids
from other prospective buyers for the sale of the Purchased Assets, respond to any inquiries or
offers to purchase all or any part of the Purchased Assets, and supply information relating to the
Business and the Purchased Assets to prospective buyers, in each case subject to confidentiality
agreements and in accordance with any relevant procedures set forth in this Agreement and, if
entered, the Bidding Procedures Order. For the avoidance of doubt, (i) Sellers shall neither
solicit bids from other prospective buyers for the sale of the Purchased Assets, nor respond to
inquiries or offers to purchase all or any part of the Purchased Assets, nor supply information
relating to the Business, between the Execution Date and the date on which the Bidding
Procedures Order is entered, and (ii) no provision of this Agreement shall limit the ability of
Sellers to enter into any agreement to sell all or any portion of the Purchased Assets to the
winning bidder in the Auction. ,

(g) No later than twenty (20) days prior to the Sale Hearing, Sellers shall file a
motion (the “Assumption and Assignment Motion”) with the U.S. Bankruptcy Court seeking the
entry of an order (the “Assumption and Assignment Order”) authorizing and approving the
assumption and assignment of the Assigned Contracts under Section 365 of the Bankruptcy Code
and, within five (5) Business Days of the filing of the Assumption and Assignment Motion, file a
motion before the Canadian Court seeking the recognition of the Assumption and Assignment
Order. The Assumption and Assignment Motion shail contain Sellers’ information regarding the
alleged Cure Cost for each Assigned Contract (as set forth on Sellers’ books and records), and
shall request that the U.S. Bankruptcy Court determine the Cure Cost for each Assigned
Contract. The Assumption and Assignment Motion shall contain procedures for the resolution of
any dispute regarding the Cure Cost for any Assigned Contract in form and substance acceptable
to Purchaser.

 

ARTICLE VII.

COVENANTS AND AGREEMENTS

8.1 Conduct of Business of Allied Entities.

 

(a) During the period from the Execution Date and continuing until the earlier
of the termination of this Agreement in accordance with Section 3.4 or the Closing, except (1)
for any limitations on operations imposed by, or actions required by, the Bankruptcy Courts or
the Bankruptcy Code, (2) as required by applicable Law, (3) as otherwise expressly
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contemplated by this Agreement or as set forth on Schedule 8.1 or (4) with the prior written
consent of the Purchaser, each Seller shall (and shall cause each Allied Entity controlled by such
Seller to):

(1) conduct the Business and operate and maintain the Purchased
Assets in the Ordinary Course of Business and in compliance with the Capital
Expenditure Covenants;

(ii) use its commercially reasonable efforts to (x) preserve the
goodwill of and relationships with Governmental Bodies, customers, suppliers, vendors,
lessors, licensors, licensees, contractors, distributors, agents, Employees and others
having business dealings with the Business; and (y) comply with all applicable Laws and,
to the extent consistent therewith, preserve their assets (tangible and intangible).

(b) During the period from the Execution Date and continuing until the earlier
of the termination of this Agreement in accordance with Section 3.4 or the Closing, except (i) for
any limitations on operations imposed by, or actions required by, the Bankruptcy Courts or the
Bankruptcy Code, (ii) as required by applicable Law, (iii) as otherwise expressly contemplated
by this Agreement or as set forth on Section 8.1 of the Seller Disclosure Schedule, or (iv) with
the prior written consent of the Purchaser, each Allied Entity shall not take any of the actions or
enter into any Contract to do anything set forth in Section 4.5 (other than with respect to matters
listed in Section 4.5(p) or Section 4.5(h); it being understood and agreed that Sellers shall
promptly notify the Purchaser in writing if any event, circumstance or fact of the type described
in in Section 4.5(p) or Section 4.5(h) arises during the period from the Execution Date until the
earlier of the termination of this Agreement in accordance with Section 3.4 or the Closing);
provided that the $500,000 figure in Section 4.5(q) shall be deemed to be $250,000 for purposes
of this Section 8.1]

(c) Promptly after the Closing Date, Sellers will (i) revoke any filing, that
they may have made heretofore with any Governmental Body relating to their use of the
Purchased Names and of any like names or combinations of words or derivations thereof; (ii) at
their expense, prepare and file with the appropriate Governmental Body appropriate documents,
including, but not limited to, articles of amendment, changing their name so as to effectuate the
same and promptly deliver evidence of such name change to the Purchaser; and (iii) cease using
the Purchased Names and any derivations thereof.

8.2 Access to Information.

(a) Each Seller agrees that, between the Execution Date and the earlier of the
Closing Date and the date on which this Agreement is terminated in accordance with Section 3.4,
the Purchaser shall be entitled, through its Representatives, to have such reasonable access to and
make such reasonable investigation and examination of the books and records, properties,
businesses, assets, Employees, accountants, auditors, counsel and operations of the Allied
Entities as the Purchaser’s Representatives may reasonably request; provided that Sellers shall be
entitled to redact any such materials and/or restrict such access to the extent necessary to avoid
violation of any antitrust or other similar competition Laws (it being understood that Sellers do
not believe any such Laws would be violated as a result of providing such materials or access to
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the Purchaser). Any such investigations and examinations shall be conducted during regular
business hours upon reasonable advance notice and under reasonable circumstances and shall be
subject to restrictions under applicable Law. Pursuant to this Section 8.2, Sellers shall make
available to the Purchaser and its Representatives a list of the Accounts Receivable as of the last
day of the month immediately preceding the month in which Closing occurs as well as such
financial, operating and property related data and other information as such Persons reasonably
request. Each Seller shall use commercially reasonable efforts to cause its Representatives and
each Allied Entity controlled by such Seller to reasonably cooperate with the Purchaser and the
Purchaser’s Representatives in connection with such investigations and examinations, and the
Purchaser shall, and use its commercially reasonably efforts to cause its Representatives to,
reasonably cooperate with such Sellers and their respective Representatives and shall use their
commercially reasonable efforts to minimize any disruption to the Business.

(b) From and after the Closing Date, Sellers shall give the Purchaser and the
Purchaser’s Representatives reasonable access during normal business hours to the offices,
facilities, plants, properties, assets, Employees, Documents (including, without limitation, any
Documents included in the Excluded Assets), personnel files and books and records of the Allied
Entities pertaining to the Business. In connection with the foregoing, each Seller shall use
commercially reasonable efforts to cause its Representatives and each Allied Entity controlled by
such Seller to make available to the Purchaser such financial, technical, operating and other
information pertaining to the Business, as the Purchaser’s Representatives shall from time to
time reasonably request and to discuss such information with such Representatives. It is
understood and agreed that nothing in this Section 8.2(b) shall be deemed as an obligation on the
part of Sellers to maintain any offices, facilities, plants, properties, assets, Employees,
Documents (including, without limitation, any Documents included in the Excluded Assets),
personnel files and books and records of the Allied Entities pertaining to the Business after the
Closing.

(c) No information received pursuant to an investigation made under this
Section 8.2 shall be deemed to (i) qualify, modify, amend or otherwise affect any
representations, warranties, covenants or other agreements of Sellers set forth in this Agreement
or any certificate or other instrument delivered to the Purchaser in connection with the
transactions contemplated hereby, (11) amend or otherwise supplement the information set forth
in the Seller Disclosure Schedule, (iii) limit or restrict the remedies available to the parties under
applicable Law arising out of a breach of this Agreement or otherwise available at Law or in
equity, or (iv) limit or restrict the ability of either party to invoke or rely on the conditions to the
obligations of the parties to consummate the transactions contemplated by this Agreement set
forth in Article IX.

8.3  Assignability of Certain Contracts, Etc. To the extent that the assignment to the
Purchaser of any Assigned Contract pursuant to this Agreement is not permitted without the
consent of a third party and such restriction cannot be effectively overridden or canceled by the
Sale Orders or other related order of the Bankruptcy Courts, then this Agreement will not be
deemed to constitute an assignment of or an undertaking or attempt to assign such Assigned
Contract or any right or interest therein unless and until such consent is obtained; provided,
however, that the parties hereto will use their commercially reasonable efforts, before the

 

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Closing, to obtain all consents of such third parties that cannot be effectively overridden or
canceled by the Sale Orders or other related order of the Bankruptcy Courts; provided, further,
that if any such consents are not obtained prior to the Closing Date, Sellers and the Purchaser
will reasonably cooperate with each other in any lawful and feasible arrangement designed to
provide the Purchaser (such arrangement to be at the sole cost and expense of the Purchaser)
with the benefits and obligations of any such Assigned Contract.

8.4 Rejected Contracts. No Seller shall reject any Assigned Contract in any
bankruptcy proceeding following the Execution Date without the prior written consent of the
Purchaser.

8.5 Further Agreements. The Purchaser authorizes and empowers Sellers from and
after the Closing Date to receive and to open all mail received by Sellers relating to the
Purchased Assets, the Business or the Assumed Liabilities and to deal with the contents of such
communications in accordance with the provisions of this Section 8.5. Each of Sellers shall (i)
promptly deliver to the Purchaser or the applicable Designated Purchaser any mail or other
commumcation received by them after the Closing Date and relating to the Purchased Assets, the
Business or the Assumed Liabilities, (41) promptly transfer in immediately available funds to the
Purchaser or the applicable Designated Purchaser any cash, electronic credit or deposit received
by such Seller but solely to the extent that such cash, electromic credit or deposit are Purchased
Assets and (iii) promptly forward to the Purchaser or the applicable Designated Purchaser any
checks or other instruments of payment that it receives but solely to the extent that such checks
or other instruments are Purchased Assets. The Purchaser or the applicable Designated
Purchaser shall (x) promptly deliver to Sellers any mail or other communication received by it
after the Closing Date and relating to the Excluded Assets or the Excluded Liabilities, (y)
promptly wire transfer in immediately available funds to Sellers, any cash, electronic credit or
deposit recerved by the Purchaser or the applicable Designated Purchaser but solely to the extent
that such cash, electronic credit or deposit are Excluded Assets and (z) promptly forward to
Sellers any checks or other instruments of payment that it receives but solely to the extent that
such checks or other instruments are Excluded Assets. From and after the Closing Date, Sellers
shall refer all inquiries with respect to the Business, the Purchased Assets and the Assumed
Liabilities to the Purchaser or the applicable Designated Purchaser, and the Purchaser or the
applicable Designated Purchaser shall refer all inquiries with respect to the Excluded Assets and
the Excluded Liabilities to Sellers.

8.6 Further Assurances.

(a) Subject to the terms and conditions of this Agreement and applicable Law,
Sellers and the Purchaser shall use their respective commercially reasonable efforts to take, or
cause to be taken, all actions, and to do, or cause to be done, all things necessary, proper or
advisable to consummate and make effective the transactions contemplated by this Agreement as
soon as practicable, and shall coordinate and cooperate with each other in exchanging
information, keeping the other party reasonably informed with respect to the status of the matters
contemplated by this Section 8.6 and supplying such reasonable assistance as may be reasonably
requested by the other party in connection with the matters contemplated by this Section 8.6.
Without limiting the foregoing, following the Execution Date and until the date on which this

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Agreement is terminated in accordance with Section 3.4, the parties shall use their commercially
reasonable efforts to take the following actions but solely to the extent that such actions relate to
the transactions contemplated by this Agreement:

(i) obtain any required consents, approvals (including Regulatory
Approvals), waivers, Permits, authorizations, registrations, qualifications or other
permissions or actions by, and give all necessary notices to, and make all filings with, and
applications and submissions to, any Governmental Body or third party and provide all
such information concerning such party as may be necessary or reasonably requested in
comnection with the foregoing (other than any consents, approvals, waivers,
authorizations or notices that can be overridden or canceled by the Sale Orders or other
related order of the Bankruptcy Courts);

(ii) avoid the entry of, or have vacated or terminated, any injunction,
decree, order, or judgment that would restrain, prevent, or delay the consummation of the
transactions contemplated hereby;

(iii) take any and all reasonably necessary steps to avoid or eliminate
every impediment under any applicable Law that is asserted by any Governmental Body
with respect to the transactions contemplated hereby so as to enable the consummation of
such transactions to occur as expeditiously as possible; and

(iv) at or following the Closing, execute, acknowledge and deliver all
such further conveyances, notices, assumptions, releases and acquaintances and such
other instruments, and cooperate and take such further actions, as may be reasonably
necessary or appropriate to transfer and assign fully to the Purchaser and its successors
and assigns, all of the Purchased Assets, and for the Purchaser and its successors and
assigns, to assume the Assumed Liabilities, and to otherwise make effective the
transactions contemplated hereby and thereby.

Subject to the terms and conditions of this Agreement (including, without limitation, Section
7.1(d)), the parties shall not take any action or refrain from taking any action the effect of which
would be to delay or impede the ability of Sellers and the Purchaser to consummate the
transactions contemplated by this Agreement, unless in such party’s reasonable judgment, taking
such action or refraining from taking such action is consistent with achieving the ultimate
objective or consummating the transactions contemplated hereby or is required by applicable
Law.

(b) Following the Execution Date and until the earlier of the Closing Date and
the date on which this Agreement is terminated in accordance with Section 3.4: (i) Sellers, on
the one hand, and the Purchaser, on the other hand, shall keep each other reasonably informed as
to the status of matters relating to the completion of the transactions contemplated hereby,
including promptly furnishing the other with copies of notices or other communications received
by Sellers or the Purchaser (as the case may be), from any Governmental Body with respect to
the transactions contemplated by this Agreement; and (11) Sellers shall, to the extent permitted by
law, (A) provide to the Purchaser substantially final drafts of all of Sellers’ pleadings, orders and
notices to be filed in the Bankruptcy Cases in connection with this Agreement at least two (2)
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Business Days before the filing to the extent reasonably practicable and, if not reasonable
practicable, as soon as possible, and consider in good faith Purchaser’s reasonable comments
related to such pleadings, orders and notices, and (B) Sellers shall cooperate and coordinate with
the Purchaser’s reasonable requests concerning court hearings, pleadings, orders and notices.

(c) The obligations of the Purchaser and Sellers pursuant to this Section 8.6
shall be subject to any orders entered, or approvals or authorizations granted or required, by or
under the Bankruptcy Courts or the Bankruptcy Code (including in connection with the Chapter
11 Case), and each of Sellers’ obligations as a debtor in possession to comply with any order of
the Bankruptcy Courts (including the Bidding Procedures Order and the Sale Orders) and
Sellers’ duty to seek and obtain the highest or otherwise best price for the Business as required
by the Bankruptcy Code.

8.7 Preservation of Records. Sellers and the Purchaser agree that each of them shall
preserve and keep the records held by them or their Affiliates relating to the Business, the
Purchased Assets and Assumed Liabilities for a period of five (5) years from the Closing Date, in
the case of the Purchaser, and until the closing of the Bankruptcy Cases or the liquidation and
winding up of Sellers’ estates, in the case of Sellers, and shall make such records available to the
other party as may be reasonably required by such other party in connection with, among other
things, any insurance claims by, actions or tax audits against or governmental investigations of
Sellers or the Purchaser or any of their respective Affiliates or in order to enable Sellers or the
Purchaser to comply with their respective obligations under this Agreement and each other
agreement, document or instrument contemplated hereby or thereby. In the event Sellers or the
Purchaser wishes to destroy such records at the end of such applicable period, such party shall
first give sixty (60) days’ prior written notice to the other party and such other party shall have
the right at its option and expense, upon prior written notice given to such party within such sixty
(60) day period, to take possession of the records within one hundred and twenty (120) days after
the date of such notice, or such shorter period as the liquidation and winding up of Sellers’
estates shall permit.

8.8 Publicity. The Allied Entities or the Purchaser may issue a press release or public
announcement concerning this Agreement or the transactions contemplated hereby only with the
prior written approval of the other parties hereto, which approval will not be unreasonably
withheld, conditioned or delayed, unless, in the sole judgment of the disclosing party, such
disclosure is otherwise required by applicable Law or by the Bankruptcy Courts with respect to
filings to be made with the Bankruptcy Courts in connection with this Agreement. Without
limiting the generality of the foregoing sentence, the party intending to make such release shall
use its commercially reasonable efforts, consistent with such applicable Law or Bankruptcy
Courts requirement, to consult with the other parties with respect to the text thereof.

8.9 Communication with Acquired Customers. The Allied Entities and the Purchaser
shali send a joint letter to the Acquired Customers, in form and substance reasonably satisfactory
to Sellers and the Purchaser, at a mutually satisfactory time after the U.S. Bankruptcy Court’s
entry of the Sale Order, which shall include, but not be limited to, advising the Acquired
Customers about the existence of (but not the terms of) this Agreement and the pending transfer
of the Acquired Customer’s account and underlying Assigned Contract from Sellers to the

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Purchaser. In addition, the Purchaser shall have the right, upon reasonable advance notice and
subject to the prior consent of Allied (which consent shall not be unreasonably withheld,
conditioned or delayed), to contact and meet with any Allied Entity’s joint venturers and other
partners, any parties to any Assigned Contract and any lenders with respect to any Purchased
Assets or Assumed Liabilities; provided, however, that prior to the entry of the Sale Orders,
Sellers shall have the right to participate in any such contact or meeting.

8.10 Notification of Certain Matters. Sellers shall give prompt notice to the Purchaser,
and the Purchaser shall give prompt notice to Sellers, of (i) any notice or other communication
from any Person alleging that the consent of such Person which is or may be required in
connection with the transactions contemplated by this Agreement is not likely to be obtained
prior to Closing and (ii) any written objection or proceeding that challenges the transactions
contemplated hereby or the entry of the approval of the Bankruptcy Courts. To the extent
permitted by applicable Law, Sellers shall give prompt notice to the Purchaser of (1) any written
notice from any Governmental Body of any alleged violation of Law applicable to any Allied
Entity, (ii) the commencement of any investigation, inquiry or review by any Governmental
Body with respect to the Business or that any such investigation, inquiry or review, to the
Knowledge of Sellers, is contemplated, and (iii) the execution of any Material Contract entered
into other than in the Ordinary Course of Business (and Sellers shall deliver or make available a
copy thereof to the Purchaser).

 

8.11 Environmental Matters Access and Cooperation. Each Seller agrees that, from
and after the Execution Date, the Purchaser and its Representatives shall be entitled to have,
upon reasonable advance notice, such reasonable access to and make such reasonable
investigation and examination of the environmental condition of the Real Property that is
included in the Purchased Assets, including phase I and phase II reports, at the Purchaser’s sole
expense, as the Purchaser or its Representatives may reasonably request. Each Seller shall use
commercially reasonable efforts to cause its Representatives and each Allied Entity controlled by
such Seller to cooperate with the Purchaser and the Purchaser’s Representatives in connection
with such investigations and examinations, and the Purchaser shall, use its commercially
reasonably efforts to cause its Representatives to, reasonably cooperate with such Sellers and
their respective Representatives and shall use their reasonable efforts to minimize any disruption
to the Business; provided that any invasive or subsurface investigations of any Real Property
shall be conducted in such locations and in such manners as are approved in advance by Sellers
(which approval shall not be unreasonably withheld, conditioned, or delayed); and provided,
further, that promptly following the Purchaser’s investigation or examination of any Real
Property, the Purchaser shall, at its sole expense, restore such Real Property to the condition in
which it existed immediately prior to such investigation or examination. The Purchaser further
agrees that it and its Representatives shall treat and maintain all information generated as a result
of any phase I or phase II investigation of any Real Property as confidential business information
and that such information shall not be shared with any Person or Governmental Body except as
required by applicable Law and unless the Purchaser has given written notice, at least five (5)
Business Days in advance, to Allied prior to providing any such information to any third-party.

8.12 Notification of Additional Bids. Sellers shall give prompt notice to the Purchaser
of, and shall provide the Purchaser with copies of, any written expression of interest, inquiry,

 

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offer or bid received by Sellers from any other prospective buyer for the sale of the Purchased
Assets.

8.13 Determination of Wind Down Budget. Sellers and Purchaser shall have agreed on
the Wind Down Budget on or prior to the commencement of the hearing seeking entry of the
Bidding Procedures Order.

8.14 Canadian Recognition Order. Sellers and Purchaser shall use their reasonable
best efforts to include in the Canadian Sale Order an exemption of any non-compliance with the
provisions of the Bulk Sales Act (Ontario) in respect of the purchase and sale of the Purchased
Assets.

8.15 Schedules. By May 20, 2013 (the “Schedule Delivery Date”), (a) the Purchaser
shall deliver to Sellers a final and complete version of the Purchaser Disclosure Schedule and
any other Schedules deliverable by the Purchaser pursuant to this Agreement and (b) Sellers shall
deliver to the Purchaser a final and complete version of the Sellers’ Schedules; provided that
prior to the Schedule Delivery Date Sellers shall provide the Purchaser with any individual Seller
Schedule as soon as reasonably practical after such individual Seller Schedule is finalized by
Sellers.

8.16 Foreign Subsidiary Stock. If after the Execution Date and prior to the Closing the
Purchaser excludes any Foreign Subsidiary Stock as a Purchased Asset pursuant to Section 1.5
and instead wishes to purchase and acquire from such Foreign Subsidiary any assets and assume
from such Foreign Subsidiary any liabilities, the applicable Seller shall cause such Foreign
Subsidiary to enter into either (a) a purchase agreement with the Purchaser (or one of its
Affiliates) or (b) an amendment to this Agreement, in each case with respect to the purchase, sale
and assumption of such assets and liabilities on terms and conditions mutually acceptable to such
Foreign Subsidiary and the Purchaser (or such Affiliate); provided that the consummation of any
such purchase agreement or amendment shall be conditioned on the Purchaser (or its Affiliate)
having entered into collective bargaining agreements with any unions in respect of any
Employees of such Foreign Subsidiary then currently subject to collective bargaining
agreements, in each case to be effective as of such consummation, and such agreements shall
have been fully ratified by the applicable members in accordance with all applicable
requirements.

 

ARTICLE IX.

CONDITIONS TO CLOSING

9.1 Conditions Precedent to the Obligations of Sellers. The obligations of Sellers to
consummate the transactions contemplated by this Agreement are subject to the fulfillment, on or
prior to the Closing Date, of each of the following conditions (any or all of which may be waived
in writing by Sellers in whole or in part to the extent permitted by applicable Law):

(a) there shall not be in effect any statute, rule, regulation, executive order
enacted, issued, entered or promulgated by a Governmental Body of competent jurisdiction

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restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby;

(b) the U.S. Bankruptcy Court shall have entered the Bidding Procedures
Order and the U.S. Sale Order substantially in the forms set forth as Exhibit D and Exhibit E
hereto, respectively, and the Canadian Court shall have entered orders recognizing both such
orders substantially in the forms attached as Exhibit F and Exhibit G hereto, respectively, with
any changes thereto reasonably satisfactory to Sellers;

(c) the representations and warranties of the Purchaser set forth in Article V
hereof shall be true and correct in all material respects as of the Closing Date as though made on
and as of the Closing Date (except for such representations and warranties made as of a certain
date, which shall be true and correct as of such date as though made on and as of such date), and
Sellers shall have received a certificate signed by an authorized officer of the Purchaser, dated
the Closing Date, to the foregoing effect;

(d) the Purchaser shall have performed and complied in all material respects
with all obligations and agreements required by this Agreement to be performed or complied
with by the Purchaser on or prior to the Closing Date, and Sellers shall have received a certificate
signed by an authorized officer of the Purchaser, dated the Closing Date, to the foregoing effect;

(e) the Purchaser shall have delivered, or caused to be delivered, to Sellers all
of the items set forth in Section 3.3;

(f) the Purchaser shall have delivered all portions of the Purchase Price in
accordance with Section 2.1; and

(g) the Purchaser shall have delivered to Sellers appropriate evidence of all
necessary limited liability company action by the Purchaser in connection with the transactions
contemplated hereby, including, without limitation: (i) certified copies of resolutions duly
adopted by the Purchaser’s Board of Directors or similar governing body approving the
transactions contemplated by this Agreement and authorizing the execution, delivery, and
performance by the Purchaser of this Agreement; and (ii) a certificate as to the incumbency of
officers of the Purchaser executing this Agreement and any instrument or other document
delivered in connection with the transactions contemplated by this Agreement.

9.2 Conditions Precedent to the Obligations of the Purchaser. The obligations of the
Purchaser to consummate the transactions contemplated by this Agreement are subject to the
fulfillment, on or prior to the Closing Date, of each of the following conditions (any or all of
which may be waived in writing by the Purchaser in whole or in part to the extent permitted by
applicable Law):

(a) there shall not be in effect any statute, rule, regulation, executive order
enacted, issued, entered or promulgated by a Governmental Body of competent jurisdiction
restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby;

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(b) the U.S. Bankruptcy Court shall have entered the Bidding Procedures
Order and the U.S. Sale Order substantially in the forms set forth as Exhibit D and Exhibit E
hereto, respectively, and the Canadian Court shall have entered orders recognizing both such
orders substantially in the forms attached as Exhibit F and Exhibit G hereto, respectively, with
any changes thereto that adversely impact the Purchaser satisfactory to the Purchaser in its sole
discretion;

(c) Sellers shall have delivered to the Purchaser (1) a certified copy of the Sale
Orders, and (11) copies of all affidavits of service of the Sale Motion or notice of such motion
filed by or on behalf of Sellers;

(d) (i) the Sellers Fundamental Representations shall be true and correct in all
material respects as of the Execution Date and as of Closing Date as though made on and as of
the Closing Date (except for such representations and warranties made as of a certain date, which
shall be true and correct in all material respects as of such date) and (ii) each of the
representations and warranties of Sellers set forth in Article IV (other than the Sellers
Fundamental Representations) shall be true and correct in all respects (disregarding for these
purposes any exception in such representation and warranties relating to “materiality,” Material
Adverse Effect or similar materiality qualifications) as of the Execution Date and the Closing
Date as if made at and as of the Closing Date (except to the extent such representations and
warranties expressly relate to an earlier date, then as of such earlier date), except for such failures
to be true and correct as would not, individually or in the aggregate, reasonably be expected to
have a Material Adverse Effect; and the Purchaser shall have received a certificate signed by an
authorized officer of Allied, dated the Closing Date, to the foregoing effect;

(e) Sellers shall have performed and complied in all material respects with all
obligations and agreements required by this Agreement to be performed or complied with by
Sellers on or prior to the Closing Date, and the Purchaser shall have received a certificate signed
by an authorized officer of Sellers, dated the Closing Date, to the foregoing effect;

(f) Sellers shall have delivered, or caused to be delivered, to the Purchaser all
of the items set forth in Section 3.2;

(gz) all of the Material Permits set forth on Section 9.2(¢) of the Seller
Disclosure Schedule (the “Required Material Permits”) shall have been (i) transferred to the
Purchaser or (ii) obtained by the Purchaser, and all of the Required Material Permits shall be in
full force and effect as necessary for the Purchaser to continue to conduct the Business in the
Ordinary Course of Business immediately after the Closing Date;

 

(h) between the Execution Date and the Closing Date, there shall not have
occurred a Material Adverse Effect;

(i) between the Execution Date and the Closing Date, Sellers shall not have
experienced any labor strike or other work stoppage;

(j) Purchaser shall have agreed on the terms, conditions, and amount of the
Wind Down Budget;
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(k) the Purchaser shall have completed its business, financial, legal and other
due diligence investigation and review of Sellers to the Purchaser’s satisfaction in its sole
discretion; provided that this condition shall expire on June 14, 2013;

(1) either (i) the DIP Payment shall be delivered to the DIP Agent, or (11) the
Purchaser shall have agreed in writing to treat the obligations owing under the DIP Credit
Agreement as an Assumed Liability (subject to the consent of the DIP Lenders and subject to the

release of Sellers from all obligations owing under the DIP Credit Agreement as of the Closing
Date);

(m) the Purchaser shall have agreed on new collective bargaining agreements
with (i) the Teamsters National Automobile Transporters Industry Negotiating Committee, (1i)
any unions in respect of any Employees of Cordin Transport, LLC that are located at its
Dearborn facility, (iii) any unions in respect of any Employees of the Canadian Sellers currently
subject to collective bargaining agreements and (iv) any unions in respect of any other
Employees of Sellers currently subject to collective bargaining agreements, in each case to be
effective as of the Closing Date, and such agreements shall have been fully ratified by the
applicable members in accordance with all applicable requirements;

(n) each Canadian Seller shall have obtained at its own expense and shall have
delivered to the Purchaser a certificate pursuant to the Refail Sales Tax Act (Ontario), and a
certificate under any equivalent provision of an applicable provincial Tax legislation, stating that
all Taxes required to be paid by such Canadian Seller under the Retail Sales Tax Act (Ontario), or
such other applicable provincial Tax legislation, have been paid in full;

(0) AX International Limited shall have transferred and assigned its equity
interest in Arrendadora de Equipo para el Transporte de Automoviles, S.de R.L. de C.V.to Axis
Group, Inc. in exchange for the fair market value of such equity interest as agreed to by the
Purchaser and Sellers, which shall in no event exceed $4,000; and

(p) the Additional Cash Consideration shall have been delivered to the First
Lien Agents.

9.3 Frustration of Closing Conditions. Neither Sellers nor the Purchaser may rely on
the failure of any condition set forth in Section 9.1 or Section 9.2, as the case may be, if such
failure was caused directly by such party’s failure to comply with any provision of this
Agreement.

 

 

9.4 Information Officer’s Certificate. Provided all the events to be certified therein
have occurred, Sellers shall cause the Information Officer to deliver on Closing the Information
Officer’s Certificate substantially in the form attached to the Canadian Sale Order. Forthwith
upon delivery, Sellers shall cause the Information Officer to file the Information Officer’s
Certificate with the Canadian Court.

 

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ARTICLE X.

ADDITIONAL DEFINITIONS
10.1 Certain Definitions. As used herein:

“Accounts Receivable” means (i) any and all accounts receivable, trade accounts and
other amounts receivables (including overdue accounts receivable) owed to any Sellers and any
other rights of any Sellers to payment from third parties including, but not limited to those
reflected in the books and records of Sellers, in each case to the extent relating to, or arising in
connection with the operation and conduct of, the Business, and the full benefit of all security for
such accounts or rights to payment, including all trade accounts receivable representing amounts
receivable in respect of goods shipped, products sold or services rendered, in each case owing to
any Sellers; (ii) all other accounts or notes receivable of any Sellers and the full benefit of all
security for such accounts or notes receivable, in each case to the extent arising in the conduct of
the Business; and (iii) any and all claims, remedies or other right relating to any of the foregoing,
together with any interest or unpaid financing charges accrued thereon, in each case existing on
the Execution Date or arising in the Ordinary Course of Business after the Execution Date and in
each case that have not been satisfied or discharged prior to the close of business on the Business
Day immediately preceding the Closing Date or have not been written off or sent to collection
prior to the close of business on the Business Day immediately preceding the Closing Date (it
being understood that the receipt of a check prior to the close of business on the Business Day
immediately preceding the Closing Date shall constitute satisfaction or discharge of the
applicable account or note receivable to the extent of the payment represented thereby).

“Acquired Customers” means each customer of a Seller that is a party to an Assumed
Customer Contract.

“Actions” has the meaning set forth in Section 4.6.

“Additional Cash Consideration” means an amount determined by the Purchaser in its
sole discretion which shall not exceed $10 million and which, upon Sellers’ receipt thereof from
the Purchaser pursuant to Section 3.3(a)(iii), shall be paid by Sellers to the First Lien Agents at
the Closing, to be applied to the obligations outstanding under the First Lien Credit Agreement
and the First Lien Credit Documents in accordance with the terms thereof.

 

“Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or
cause the direction of the management and policies of such Person, whether through ownership
of voting securities, by contract or otherwise.

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Agreement” has the meaning set forth in the Preamble.

“Allied” has the meaning set forth in the Preamble.
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“Allied Borrowers” means Allied and Allied Systems Ltd. (L.P.), a Georgia corporation.
“Allied Entities” means Sellers and the Foreign Subsidiaries.
“Allocation” has the meaning set forth in Section 11.1.

“Alternative Transaction” means (i) a sale or sales of a material portion of the Purchased
Assets to a third party other than the Purchaser or any of its Affiliates conducted through the
Bankruptey Cases which is approved by the Bankruptcy Courts or (ii) the filing of a plan of
reorganization that does not contemplate the sale of the Purchased Assets to the Purchaser in
accordance with the terms hereof.

“Antitrust Laws” means the HSR Act, the Competition Act and any other applicable
Laws that are designed or intended to prohibit, restrict or regulate actions having the purpose or
effect of monopolization or restraint of trade or significant impediments or lessening of
competition or creation or strengthening of a dominant position through merger or acquisition.

“Applicable Employment Legislation” has the meaning set forth in Section 4.15(b).
“Assigned Contracts” has the meaning set forth in Section 1.1(y).

“Assumed Customer Contracts” has the meaning set forth in Section 1.1(a).

“Assumed Independent Contractor Contracts” has the meaning set forth in Section 1.1(k).
“Assumed Intellectual Property” has the meaning set forth in Section 1.1(s).

“Assumed Intellectual Property Licenses” has the meaning set forth in Section 1.1(s).
“Assumed Liabilities” has the meaning set forth in Section 1.3.

“Assumed Leased Real Property” has the meaning set forth in Section 1.1(j).

“Assumed Personal Property Leases” has the meaning set forth in Section 1.1(h).
“Assumed Plans” has the meaning set forth in Section 1.1(y).

“Assumed Real Property Leases” has the meaning set forth in Section 1.1(j).

“Assumed Retention Incentive Agreements” has the meaning set forth in Section 1.1(y).
“Assumed Vendor Contracts” has the meaning set forth in Section 1.1(e).

“Assumption and Assignment Motion” has the meaning set forth in Section 7.1(e).
“Assumption and Assignment Order” has the meaning set forth in Section 7.1(e).
“Auction” means an auction in respect of the Purchased Assets.

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“Bankruptcy Cases” has the meaning set forth in the Recitals.

“Bankruptcy Code” means chapter 11 of title 11 of the United States Code, 11 U.S.C. §
101 ef seg.

“Bankruptcy Courts” has the meaning set forth in the Recitals.

“Bankruptcy Exceptions” has the meaning set forth in Section 4.3.

“Bidding Procedures” has the meaning set forth in Section 7.1(b)(i).
“Bidding Procedures Order” has the meaning set forth in Section 7.1(b)(i).

“Budget” means the 2013 annual budget, dated April __, 2013, for Sellers, consisting of
forecasted income statements, balance sheets and cash flow statements for each month of 2013,
as approved by the Purchaser in its sole discretion,

“Business” means the business of providing vehicle transportation, distribution, logistics,
inspections, yard management, tracking, accessorizing, dealer preparation and other support
services to the automotive industry.

“Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks in New York City, New York are authorized or required by Law to be closed.

“Capital Expenditure Covenants” means the financial covenants regarding capital
expenditures (a) for purposes of Section 8.1, then in effect under the DIP Credit Agreement or
(b) for purposes of Section 4.5, under the Super Priority Debtor in Possession Credit and
Guaranty Agreement, dated as of June 12, 2012, by and among the Allied Borrowers, as
borrowers, the other Debtors, as guarantors, Yucaipa American Alliance Fund II, LLC, as agent,
and the lenders thereto, as amended (as applicable).

“Canadian Court” has the meaning set forth in the Recitals.

“Canadian Sale Order” has the meaning set forth in the definition of Sale Orders in this
Section 10.1.

“Canadian Seller” means Allied Systems (Canada) Limited and Axis Canada Company.

“Cash and Cash Equivalents” means all of Sellers’ cash (including petty cash and checks
received prior to the close of business on the Closing Date), checking account balances,
marketable securities, certificates of deposits, time deposits, bankers’ acceptances, commercial
paper and government securities and other cash equivalents (but specifically excluding any cash
tendered as a part of the Purchase Price or any cash in the Wind Down Budget pursuant to this
Agreement).

“CCAA Case” has the meaning set forth in the Recitals.

“CIT” means The CIT Group/Business Credit, Inc.
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“Chapter 11 Case” has the meaning set forth in the Recitals.

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‘Claim Assignment” has the meaning set forth in Section 3.7.
“Claim Contribution” has the meaning set forth in Section 2.1{a)(iv).

“Claim Contribution Amount” means an amount of obligations held by the First Lien
Lenders under the First Lien Credit Agreement and the First Lien Credit Documents equal to (a)
$70 million minus (b) the amount of the DIP Payment minus (c) the amount of the Wind Down
Budget minus (d) the Additional Cash Consideration.

 

“Closing” has the meaning set forth in Section 3.1.
“Closing Date” has the meaning set forth in Section 3.1.
“Code” means the Internal Revenue Code of 1986, as amended.

“Competition Act” means the Competition Act (Canada), as amended, and the regulations
thereunder.

“Contract” means any written or oral contract, purchase order, service order, sales order,
indenture, note, bond, lease, license, commitment or instrument or other agreement, arrangement
or commitment that is legally binding upon a Person or its property.

“Cure Costs” means the aniounts necessary to cure all defaults, if any, and to pay all
actual pecumiary losses, if any, that have resulted from such defaults, under the Assigned
Contracts, in each case as of the Closing Date and to the extent required by Section 365 of the
Bankruptcy Code and any order of the U.S. Bankruptcy Court.

“Designated Purchaser” has the meaning set forth in Section 12.8(b).

“DIP Agent” means Black Diamond Commercial Finance, L.L.C, in its capacity as
Administrative Agent under the DIP Credit Agreement, or any successor thereto or replacement
thereof.

“DIP Credit Agreement” means that certain Super Priority Debtor in Possession Credit
and Guaranty Agreement, dated as of May 17, 2013, by and among the Allied Borrowers, as
borrowers, the other Debtors, as guarantors, the DIP Agent and the DIP Lenders, as amended,
modified, supplemented, restated or replaced from time to time.

“DIP Lenders” means the lenders, from time to time, under the DIP Credit Agreement,
including any other party that may become a lender thereunder.

“DIP Order” means the Final Order Pursuant to 11 U.S.C. $$ 105, 361, 362, 363(c),
364(c)(1), 364(c)(2), 364(c)(3), 364(d) (1), 364(e) (303(b) and 507(a), Fed. R. Bankr. P. 2002,
4001 and 9014 and Del. Bankr. E.R. 4001-2; (D Authorizing Debtors to (A) Obtain Postpetition
Secured DIP Financing and (B) Use Cash Collateral; (I) Granting Superiority Liens and
Providing for Superpriority Administrative Expense Status; (11) Granting Adequate Protection
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to Prepetition Secured Lenders; and (IV) Modifying Automatic Stay, entered on May [e], 2013
[DOCKET], as amended from time to time.

“DIP Payment” has the meaning set forth in Section 2.1(a)(1).

“Documents” means all of Sellers’ written files, documents, instruments, papers, books,
reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans, operating
records, safety and environmental reports, data, studies and documents, ledgers, journals, title
policies, customer lists, regulatory filings, operating data and plans, research material, technical
documentation (design specifications, engineering information, test results, maintenance
schedules, functional requirements, operating instructions, logic manuals, processes, flow charts,
etc.), user documentation (installation guides, user manuals, training materials, release notes,
working papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web pages,
etc.), and other similar materials, in each case whether or not in electronic form.

“Employee” means an individual who, as of the applicable date, is employed by any
Sellers in connection with the Business (including those who may be on a leave of absence as of
the Closing Date).

“Employee Benefit Plan” means (i) all “employee benefit plans” (as defined in Section
3(3) of ERISA), including all employee benefit plans which are “pension plans” (as defined in
Section 3(2) of ERISA, determined without regard to whether such plan is either subject to
ERISA or is tax-qualified under the Code) and any other written employee benefit plan, program,
policy or arrangements or payroll practices (including, without limitation, severance pay,
vacation pay, company awards, salary continuation for disability, sick leave, death benefit,
hospitalization, welfare benefit, group or individual health, dental, medical, life, insurance,
survivor benefit, deferred compensation, profit sharing, pension, retirement, retiree medical,
supplemental retirement, bonus or other incentive compensation, stock purchase, stock option,
stock appreciation rights, restricted stock and phantom stock arrangements or policies) and (ii)
all written employment, termination, bonus, severance, change in control or other similar
contracts or agreements.

“Employment Loss” means (i) an employment termination, other than a discharge for
cause, voluntary departure or retirement, (11) a layoff exceeding six (6) months, (iii) a reduction
in hours of work of more than fifty percent (50%) in each month of any six (6) month period or
(iv) or any similar employment action that (when aggregated with any other employment action)
could trigger the notice requirements of the WARN Act or Applicable Employment Legislation.

“Employment Offering Purchaser Entity” has the meaning set forth in Section 6.1.

“Encumbrance” means any lien, encumbrance, claim (as defined in Section 101(5) of the
Bankruptcy Code), right, demand, charge, mortgage, deed of trust, pledge, security interest or
similar interests, title defects, hypothecations, easements, rights of way, restrictive covenants,
encroachments, judgments, conditional sale or other title retention agreements and other
impositions, imperfections or defects of title or restrictions on transfer or use of any nature
whatsoever, or any other interest (as used in any applicable section of the Bankruptcy Code,
including section 363(f)).

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“Environmental Laws” means all Laws relating to pollution or protection of natural
resources or the environment, or the generation, use, treatment, storage, handling, transportation
or Release of, or exposure to, Hazardous Materials, including, without limitation, the Federal
Water Pollution Control Act (33 U.S.C. §1251 ef seg.), Resource Conservation and Recovery
Act (42 U.S.C. §6901 et seg.), Safe Drinking Water Act (42 U.S.C. §3000(f) ef seq.), Toxic
Substances Control Act (15 U.S.C. §2601 ef seq.), Clean Air Act (42 U.S.C. §7401 ef seq.),
Comprehensive Environmental Response, Compensation and Liability Act (42 U.S.C. §9601 ez
seq.) and other similar U.S. or Canadian federal, state, provincial and local statutes.

“Equipment” means all equipment, machinery, vehicles, rigs, rolling stock, storage tanks,
furniture, fixtures and other tangible personal property of every kind and description and
improvements and tooling used, or held for use, in connection with the operation of the Business
and owned by any Sellers, wherever located, including but not limited to, communications
equipment, the IT Assets, and any attached and associated hardware, routers, devices, panels,
cables, manuals, cords, connectors, cards, and vendor documents, and including all warranties of
the vendor applicable thereto, to the extent such warranties are transferable, but excluding
software and any other intangibles associated therewith except to the extent embedded in such
Equipment and required to operate it.

“ERISA Affiliate” means any entity (other than a Seller) which is a member of (A) a
controlled group of corporations (as defined in Section 414(b) of the Code), (B) a group of trades
or businesses under common control (as defined in Section 414(c) of the Code), (C) an affiliated
service group (as defined under Section 414(m) of the Code) or (D) any group specified in
regulations under Section 414(0) of the Code, any of which includes any Sellers.

“ERISA Affiliate Plan” means each Employee Benefit Plan sponsored or maintained or
required to be sponsored or maintained by any ERISA Affiliate, or to which such ERISA
Affiliate makes, or has an obligation to make, contributions, or with respect to which such
ERISA Affiliate has any liability or obligation.

“Excluded Assets” has the meaning set forth in Section 1.2.
“Excluded Liabilities” has the meaning set forth in Section 1.4.
“Excluded Plans” has the meaning set forth in Section 1.2(i).
“Execution Date” has the meaning set forth in the Recitals.
“Exempt Trust” has the meaning set forth in Section 4.16(c).

“First Lien Agents” means Black Diamond Commercial Finance, LLC and Spectrum
Commercial Finance, L.L.C., as co-Administrative Agents under the First Lien Credit
Agreement and the First Lien Credit Documents.

“First Lien Credit Agreement” means that certain Amended and Restated First Lien
Secured Super Priority Debtor-in-Possession and Exit Credit and Guaranty Agreement, dated
May 15, 2007, by and among, inter alia, the Allied Borrowers certain subsidiaries of Allied

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Borrowers as guarantors, the lenders party thereto from time to time, and CIT, as administrative
and collateral agent, as amended by that certain Limited Waiver and Amendment No. 1| to Credit
Agreement and Pledge and Security Agreement, dated as of May 29, 2007, that certain
Amendment No. 2 to Credit Agreement, dated as of June 12, 2007, that certain Amendment No.
3 to Credit Agreement, dated as of April 17, 2008 and that certain Amendment No. 4 to Credit
Agreement dated as of August 21, 2009, and as further as amended, modified, supplemented or
restated from time to time.

“First Lien Credit Documents” means the Credit Documents as defined in the First Lien
Credit Agreement.

 

“First Lien Lenders” means the Lenders party to, and as defined in, the First Lien Credit
Agreement.

“First Lien Loans” means the outstanding Loans (as defined in the First Lien Credit
Agreement) and participations in LC Disbursements (as defined in the First Lien Credit
Agreement).

“FMLA” means the United States Family and Medical Leave Act, as amended.

“Foreign Subsidiary Financial Statements” means with respect to each Foreign
Subsidiary, (a) the unaudited financial statements of such Foreign Subsidiary for the 12-month
periods ended December 31, 2010, December 31, 2011 and December 31, 2012 including the
balance sheet as of such date and the related statements of income for such periods and (b) the
unaudited balance sheet of such Foreign Subsidiary, on a consolidated basis, as of March 31,
2013 and the related statement of income for the three-month period then ended.

“Foreign Subsidiary Stock” has the meaning set forth in Section 1.1(u).

“Foreign Subsidiaries” means the Persons set forth on Section 10.1(1) of the Seller
Disclosure Schedule.

“GAAP” means United States generally accepted accounting principles as in effect from
time to time.

“Governmental Body” means any government, quasi-governmental entity, or other
governmental or regulatory body, agency or political subdivision thereof of any nature, whether
foreign, federal, state, provincial or local, or any agency, branch, department, official, entity,
instrumentality or authority thereof, or any court or arbitrator (public or private) of applicable
jurisdiction.

“Hazardous Materials” means petroleum and all derivatives thereof or synthetic
substitutes therefore, asbestos and asbestos containing materials, and any and all materials
defined, listed, designated or classified as, or otherwise determined to be, “hazardous wastes,”
“hazardous substances,” “radioactive,” “solid wastes,” or “toxic” (or words of similar meaning)
under or pursuant to or otherwise listed or regulated pursuant to any Environmental Law,

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including hazardous substances under Health Canada’s Workplace Materials Information System
(WHMIS) and any equivalent legislation of other applicable jurisdictions.

“HSR_ Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended.

“Income Taxes” shall mean all Taxes based upon, measured by, or calculated with
respect to gross or net income or gross or net receipts or profits.

“Income Tax Returns” shall mean Tax Returns with respect to Income Taxes.

“Indebtedness” of any Person means, without duplication, (i) the interest in respect of,
principal of and premium (if any) in respect of (x) mdebtedness of such Person for money
borrowed and (y) indebtedness evidenced by notes, debentures, bonds or other similar
instruments for the payment of which such Person is responsible or liable; (ii) all obligations of
such Person issued or assumed as the deferred purchase price of property (other than for services
and good acquired in the Ordinary Course of Business); (iii) all obligations of such Person under
leases required to be capitalized in accordance with GAAP; (iv) all obligations of such Person
for the reimbursement of any obligor on any letter of credit, banker’s acceptance or similar credit
transaction; (v) all obligations of the type referred to in clauses (i) through (iv) of any Persons for
the payment of which such Person is responsible or liable, directly or indirectly, as obligor,
guarantor, surety or otherwise, including guarantees of such obligations; and (vi) all obligations
of the type referred to in clauses (i) through (v) of other Persons secured by any Encumbrance
(other than Permitted Encumbrances), on any property or asset of such Person (whether or not
such obligation is assumed by such Person).

“Information Officer” means Duff & Phelps Canada Restructuring Inc., in its capacity as
information officer.

“Information Officer’s Certificate” means a certificate of the Information Officer
certifying the closing of the transactions among the Canadian Sellers and the Purchaser
contemplated pursuant to this Agreement and substantially in the form attached to the Canadian
Sale Order.

“Intellectual Property” means all intellectual property and proprietary rights of any kind,
including the following: (i) trademarks, service marks, trade names, slogans, logos, trade dress,
internet domain names, uniform resource identifiers, rights in design, brand names, and other
similar designations of source or origin, together with all goodwill, registrations and applications
related to the foregoing; (ii) patents, utility models and industrial design registrations (and all
continuations, divisionals, continuations in part, provisionals, renewals, reissues, re-examinations
and applications for any of the foregoing); (iii) copyrights and copyrightable subject matter
(including without limitation any registration and applications for any of the foregoing); (iv)
trade secrets and other confidential or proprietary business information (including manufacturing
and production processes and techniques, research and development information, technology,
drawings, specifications, designs, plans, proposals, technical data, financial, marketing and
business data, pricing and cost information, business and marketing plans, customer and supplier
lists and information), know how, proprietary processes, formulae, algorithms, models, and

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methodologies; (v) computer software, computer programs, and databases (whether in source
code, object code or other form); and (vi) all rights to sue for past, present and future
infringement, misappropriation, dilution or other violation of any of the foregoing and all
remedies at law or equity associated therewith.

“Insurance Policies” has the meaning set forth in Section 4.18.

“Inventory” means all of Sellers’ inventories of raw materials, office supplies, works in
progress, goods, spare parts and replacement and component parts and fuel that are used, or held
for use, in connection with the operation of the Business.

“Investment Canada Act” means the Investment Canada Act (Canada), as amended, and
the regulations thereunder.

“IT Assets” means all of Sellers’ computers, computer software and databases (including
source code, object code and all related documentation), firmware, middleware, servers,
workstations, routers, hubs, switches, data communications lines, and all other information
technology equipment and elements, and all associated documentation that are used, or held for
use, in connection with the operation of the Business, in each case to the extent in the physical
possession of any Seller.

“Knowledge” An individual shall be deemed to have “Knowledge” of a particular fact or
other matter if such individual is, or with reasonable diligence within the scope of reasonable
fulfillment of such individual’s duties, would be, aware of such fact or other matter. Sellers shall
be deemed to have “Knowledge” of a particular fact or other matter if any of the following
individuals has Knowledge of such fact or other matter: Mark Gendregske, John Jansen, Robert
Ferrell, John Blount, Devora Mitchell, Scott Macaulay, Julie Sieja or Bob Hutchison.

“Laws” means all federal, state, provincial, local or foreign laws, statutes, common law,
rules, codes, regulations, restrictions, ordinances, orders, decrees, approvals, directives,
judgments, rulings, injunctions, writs and awards of, or issued, promulgated, enforced or entered
by, any and all Governmental Bodies, or court of competent jurisdiction, or other requirement or
tule of law.

“Leased Real Property” means all of the real property leased, subleased, licensed, used or
occupied by any Sellers (other than the Owned Real Property), together with all buildings,
structures, fixtures and improvements erected thereon, and any and all rights privileges,
easements, licenses, hereditaments and other appurtenances relating thereto, and used, or held for
use, in connection with the operation of the Business.

“Liability” means, as to any Person, any debt, adverse claim, liability, obligation,
commitment, assessment, cost, expense, loss, expenditure, charge, fee, penalty, fine, contribution
or premium of any kind or nature whatsoever, whether known or unknown, asserted or
unasserted, absolute or contingent, direct or indirect, accrued or unaccrued, liquidated or
unliquidated, or due or to become due, and regardless of when sustained, incurred or asserted or
when the relevant events occurred or circumstances existed, including all costs and expenses
relating thereto.

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“Licensed Intellectual Property” means any Intellectual Property that is licensed to any
Sellers, and used, or held for use, in connection with the operation of the Business.

“Management Retention Incentive Agreements” means those certain Retention Incentive
Agreements, by and between Allied Systems, Yucaipa American Alliance Fund 1, L.P. and
Yucaipa American Alliance (Parallel} Fund I, L.P., and each of John Bates (dated January 5,
2012), John Blount (dated December 31, 2011), Dane Campbell (dated January 5, 2012), Jorge
Lopez Colome (dated January 5, 2012), Cade Daniel (dated Decernber 31, 2011), Jonathan Davis
(dated December 31, 2011), Robert Ferrell (dated December 31, 2011), Mark J. Gendregske
(dated December 31, 2011), Robert Hutchison (dated December 31, 2011), John Jensen (dated
December 31, 2011), Scott Macaulay (dated December 31, 2011}, Dan Marx (dated December
31, 2011), Roger Panella (dated December 31, 2011), Keith Rentzel (dated December 31, 2011),
and Julie Sieja (dated December 31, 2011).

“Material Adverse Effect” means any event, circumstance, change, occurrence or state of
facts that has had, or could reasonably be expected to have, a material adverse effect on the (i)
assets, Liabilities, Business, operations, properties, condition (financial or otherwise) or results
of operations of the Business, taken as a whole, or (ii) the ability of Sellers to consummate the
transactions contemplated by this Agreement or perform their obligations under this Agreement,
except, in each case, for any such effect resulting from any of the following: (A) changes after
the Execution Date in any applicable Law, (B) the announcement or pendency of this Agreement
or the transactions contemplated hereby, including, without limitation, effects on relationships,
contractual or otherwise, with customers, suppliers, vendors or employees, (C) ‘any action by the
Purchaser or any of its Affiliates or the omission of an action that was required to be taken by the
Purchaser or any of its Affiliates pursuant to this Agreement or the transactions contemplated
hereby, or (D) any action taken or omitted by any Seller or any of its Affiliates that was required
to be so taken or omitted, respectively, by any Seller or any of its Affiliates pursuant to this
Agreement or at the request or with the prior written consent of the Purchaser.

“Material Contracts” has the meaning set forth in Section 4.8.
“Material Permits” has the meaming set forth in Section 4.9(a).

“Non-Assumed Contracts” means the Contracts set forth on Schedule 10.1(ii) of the
Seller Disclosure Schedule.

 

“Ordinary Course of Business” means the ordinary and usual course of normal day to day
operations of the Business consistent with past practice.

 

“Qutside Date” has the meaning set forth mn Section 3.4(b).

“Owned Intellectual Property” means all Intellectual Property owned by any Sellers, and
used, or held for use, in connection with the operation of the Business.

 

“Qwned Real Property” means the parcels of real property which a Seller owns (together
with all fixtures and improvements thereon).

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